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                                               UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF COLORADO
                                                       DENVER DIVISION

  In re:                                                     §       Lead Case - 11-32445-MER
                                           1                 §
  DALBEY EDUCATION INSTITUTE, LLC                                    11-32446 - MER
                                                             §       11-32437 – MER
                                         Debtor(s)           §       Chapter 7
                                                             §


                                  CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                   REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                  ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

      Dennis W. King, Chapter 7 Trustee, submits this Final Account, Certification that the Estate has been Fully
  Administered and Application to be Discharged.

       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if applicable, any
  order of the Court modifying the Final Report. The case is fully administered and all assets and funds which have
  come under the trustee’s control in this case have been properly accounted for as provided by law. The trustee
  hereby requests to be discharged from further duties as a trustee.
      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged without
  payment, and expenses of administration is provided below:

     Assets Abandoned: $1,984,362.65                                Assets Exempt: NA
     (Without deducting any secured claims)
     Total Distributions to Claimants: $384,166.37                  Claims Discharged
                                                                    Without Payment: NA
     Total Expenses of Administration: $1,096,865.56

       3) Total gross receipts of $1,481,031.93 (see Exhibit 1), minus funds paid to the debtor and third parties of
  $0.00 (see Exhibit 2), yielded net receipts of $1,481,031.93 from the liquidation of the property of the estate, which
  was distributed as follows:




1Consolidated Cases

DEI, LLLP EIN XX-XXXXXXX and IPME, LLLP EIN: XX-XXXXXXX
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                                              CLAIMS              CLAIMS              CLAIMS              CLAIMS
                                            SCHEDULED            ASSERTED            ALLOWED               PAID
   SECURED CLAIMS
                                             $261,284.08                $0.00               $0.00               $0.00
   (from Exhibit 3 )

   PRIORITY CLAIMS:
     CHAPTER 7 ADMIN. FEES                             NA        $2,045,021.47      $1,096,865.56      $1,096,865.56
     AND CHARGES (from Exhibit 4 )
      PRIOR CHAPTER ADMIN. FEES
      AND CHARGES                                      NA               $0.00               $0.00               $0.00
      (from Exhibit 5 )

      PRIORITY UNSECURED CLAIMS
                                             $170,312.30           $34,327.21          $34,327.21          $34,327.21
      (from Exhibit 6 )

   GENERAL UNSECURED CLAIMS
                                           $4,578,627.29     $336,671,341.01     $331,061,381.71         $349,839.16
   (from Exhibit 7 )


    TOTAL DISBURSEMENTS                    $5,010,223.67     $338,750,689.69     $332,192,574.48       $1,481,031.93



        4) This case was originally filed under chapter 7 on 09/21/2011. The case was pending for 94 months.

       5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
  Trustee.
       6) An individual estate property record and report showing the final accounting of the assets of the estate is
  attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
  accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true and
  correct.

  Dated :     07/12/2019                        By :   /s/ Dennis W. King

                                                       Trustee

  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
  exemption 5 C.F.R. § 1320.4 (a)(2) applies.




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                                                         EXHIBITS TO
                                                       FINAL ACCOUNT
       EXHIBIT 1 – GROSS RECEIPTS

                                                                         UNIFORM            AMOUNT
                                DESCRIPTION
                                                                       TRAN. CODE 1         RECEIVED

  DALBEY - SUPERIOR VISION SERVICES                                      1121-000                 $83.58

  DALBEY - OPERATING BANK ACCOUNT                                        1129-000               $2,312.19

  DALBEY - EXPERIAN MARKETING SOLUTIONS                                  1129-000               $1,496.68

  DALBEY - LEASEHOLD IMPROVEMENTS - SEE ATTACHMENT T                     1129-000              $15,000.00

  DALBEY - HUMANA HEALTH INSURANCE                                       1129-000                $464.22

  DALBEY - COMPUTER EQUIPMENT - SEE ATTACHMENT TO SC                     1129-000               $5,000.00

  DALBEY - PAYROLL BANK ACCOUNT                                          1129-000                   $1.59

  DALBEY - PETTY CASH - PREPAID VISA CARDS                               1129-000               $2,401.00

  DALBEY - FURNITURE AND FIXTURES - SEE ATTACHMENT T                     1129-000              $10,000.00

  DALBEY - TRANSFIRST RESERVE - CREDIT CARD PROCESSI                     1129-000             $394,337.21

  DALBEY - Pitney Bowes Meter Refund                                     1221-000                   $9.84

  IPME - ACCOUNTS RECEIVABLE: MACROMARK, INC.                            1221-000                 $25.00

  IPME - A/R - THE GOODMAN GROUP, LLC                                    1223-000             $255,854.37

  DALBEY - RETAINER BALANCE FROM SHOEMAKER ET AL                         1229-000              $22,526.69

  DALBEY - PROSPER INC. RESERVE PAYMENTS                                 1229-000                $896.91

  IPME - OPERATING BANK ACCOUNT #2156                                    1229-000                 $46.69

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Newton                       1241-000               $4,500.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER-AM Express                     1241-000               $7,500.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Aero/The                     1241-000              $10,000.00

  IPME - PREFERENCE/FRAUDULENT TRANSFER: MACROMARK                       1241-000               $3,000.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER -- First W                     1241-000              $50,000.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER/Day dba Pr                     1241-000               $3,000.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Den Secu                     1241-000               $2,100.00

  IPME - PREFERENCE/FRAUDULENT TRANSFER: ALBERT MOOR                     1241-000               $1,000.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Cisco                        1241-000               $5,000.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER -The Hays                      1241-000               $3,250.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Pfinix                       1241-000               $1,500.00


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          EXHIBIT 1 – GROSS RECEIPTS

                                                                                                          UNIFORM                AMOUNT
                                         DESCRIPTION
                                                                                                        TRAN. CODE 1             RECEIVED

  IPME - PREFERENCE/FRAUDULENT TRANSFER: JJS & A, IN                                                      1241-000                       $4,750.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Farella                                                       1241-000                  $160,000.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER -- JPMorga                                                      1241-000                       $2,750.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER -- Moye Wh                                                      1241-000                       $7,500.00

  DALBEY - FRAUDULENT TRANSFER - MARILENA DALBY                                                           1241-000                  $450,000.00

  PREFERENCE/FRAUDULENT TRANSFER: DM360                                                                   1241-000                       $6,000.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER - LiveOps                                                       1241-000                     $10,000.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER -- Havas E                                                      1241-000                     $11,000.00

  DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Whipplew                                                      1241-000                     $25,000.00

  IPME - PREFERENCE/FRAUDULENT TRANSFER: XL MARKETIN                                                      1241-000                       $1,500.00

  DALBEY - GOKARE SETTLEMENT                                                                              1249-000                        $379.74

  DALBEY - GOOGLE SETTLEMENT                                                                              1249-000                        $843.41

  IPME - Post-Petition Interest Deposits                                                                  1270-000                          $0.52

  DALBEY - Post-Petition Interest Deposits                                                                1270-000                          $2.29

      TOTAL GROSS RECEIPTS                                                                                                        $1,481,031.93
  1
      The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


          EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                   AMOUNT
                    PAYEE                                  DESCRIPTION
                                                                                                   TRAN. CODE                  PAID

                      NA                                          NA                                     NA                       NA
      TOTAL FUNDS PAID TO DEBTOR &
                                                                                                                                 $0.00
      THIRD PARTIES

          EXHIBIT 3 – SECURED CLAIMS

                                                             UNIFORM               CLAIMS
      CLAIM                                                                                              CLAIMS         CLAIMS           CLAIMS
                              CLAIMANT                        TRAN.              SCHEDULED
       NO.                                                                                              ASSERTED       ALLOWED            PAID
                                                              CODE             (from Form 6D)
                DEI: Mile High Bank                                                   NA                      NA         NA                    $0.00

                De Lage Landen Financial                                              NA                      NA         NA                    $0.00

                All Copy Products                                                     NA                      NA         NA                    $0.00


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       EXHIBIT 3 – SECURED CLAIMS

                                             UNIFORM       CLAIMS
   CLAIM                                                                  CLAIMS           CLAIMS          CLAIMS
                        CLAIMANT              TRAN.      SCHEDULED
    NO.                                                                  ASSERTED         ALLOWED           PAID
                                              CODE     (from Form 6D)
            Cisco Systems Capital                           NA               NA               NA                 $0.00

            Cisco Systems Capital CRP                    $261,284.08         NA               NA                 $0.00

            TOTAL SECURED                                $261,284.08              $0.00            $0.00         $0.00

       EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES AND CHARGES

                                           UNIFORM
                                                         CLAIMS          CLAIMS            CLAIMS          CLAIMS
                    PAYEE                   TRAN.
                                                       SCHEDULED        ASSERTED          ALLOWED           PAID
                                            CODE
   United States Bankruptcy Court          2700-000       NA              $7,911.00          $7,911.00       $7,911.00

   Douglass C Pearce II - Exp              3220-000       NA               $678.39            $678.39         $678.39

   Dennis W. King                          2100-000       NA             $67,680.96         $67,680.96      $67,680.96

   United States Bankruptcy Court          2700-000       NA              $2,637.00          $2,637.00       $2,637.00

   INTERNATIONAL SURETIES, LTD.            2300-000       NA              $1,312.92          $1,312.92       $1,312.92

   DICKENSHEET & ASSOCIATES, INC.          2420-000       NA             $15,442.44         $15,442.44      $15,442.44

   TRYFON HRISTOPOULOS, C.P.A.             3410-000       NA              $7,138.75          $7,138.75       $7,138.75

   TRYFON HRISTOPOULOS, C.P.A.             3410-000       NA              $1,701.00          $1,701.00       $1,701.00

   DOUGLAS C. PEARCE, II - FEE             3210-000       NA             $16,742.00         $16,742.00      $16,742.00

   INTERNATIONAL SURETIES, LTD. for        2300-000       NA               $517.61            $517.61         $517.61

   FIRST BANK OF VINITA                    2600-000       NA                $77.85             $77.85          $77.85

   Dennis W. King                          2200-000       NA              $4,925.94          $3,657.14       $3,657.14

   DOUGLAS C. PEARCE, II                   3210-000       NA            $599,623.84        $541,164.00     $541,164.00

   DICKENSHEET & ASSOCIATES, INC.          3610-000       NA               $401.49            $360.15         $360.15

   GIEFER, PATRICK C.                      3410-000       NA            $323,929.28        $323,337.31     $323,337.31

   JOLI LOFSTEDT                           3210-000       NA             $22,932.49         $19,854.50      $19,854.50

   DOUGLAS C. PEARCE, II                   3220-000       NA            $599,623.84         $58,459.84      $58,459.84

   DICKENSHEET & ASSOCIATES, INC.          3620-000       NA               $401.49             $41.34          $41.34

   GIEFER, PATRICK C.                      3420-000       NA            $323,929.28           $591.96         $591.96

   JOLI LOFSTEDT                           3220-000       NA             $22,932.49          $3,077.99       $3,077.99

   BANK OF AMERICA, N.A.                   2600-000       NA               $338.92            $338.92         $338.92

   FIRST NATIONAL BANK OF VINITA           2600-000       NA             $23,707.15         $23,707.15      $23,707.15


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       EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES AND CHARGES

                                           UNIFORM
                                                              CLAIMS          CLAIMS                 CLAIMS             CLAIMS
                    PAYEE                   TRAN.
                                                            SCHEDULED        ASSERTED               ALLOWED              PAID
                                            CODE
   FNB Vinita                              2600-000            NA                   $435.34              $435.34            $435.34
   TOTAL CHAPTER 7 ADMIN. FEES
   AND CHARGES                                                 NA           $2,045,021.47           $1,096,865.56      $1,096,865.56


       EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES AND CHARGES

                                             UNIFORM
                                                                CLAIMS             CLAIMS             CLAIMS             CLAIMS
                     PAYEE                    TRAN.
                                                              SCHEDULED           ASSERTED           ALLOWED              PAID
                                              CODE
                       NA                        NA             NA                   NA                  NA                NA
   TOTAL PRIOR CHAPTER ADMIN FEES
   AND CHARGES                                                  NA                  $0.00              $0.00             $0.00

       EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                   CLAIMS       CLAIMS
                                                 UNIFORM
    CLAIM                                                        SCHEDULED     ASSERTED                CLAIMS            CLAIMS
                            CLAIMANT              TRAN.
     NO.                                                         (from Form (from Proofs of           ALLOWED             PAID
                                                  CODE
                                                                     6E)         Claim)
                Colorado State Treasurer                              $2,847.69         NA                NA                    $0.00

                Internal Revenue Service                              $1,808.61         NA                NA                    $0.00

                David Butler                                        $165,656.00         NA                NA                    $0.00

                Colorado Department Of Revenue                         NA               NA                NA                    $0.00

   DALB237P COLO DEPARTMENT OF REVENUE           5800-000              NA              $5,391.00         $5,391.00        $5,391.00

   DEI001PRI FRANCHISE TAX BOARD                 5800-000              NA            $28,936.21        $28,936.21        $28,936.21

   TOTAL PRIORITY UNSECURED CLAIMS                                  $170,312.30      $34,327.21        $34,327.21        $34,327.21

       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                  CLAIMS      CLAIMS
                                                 UNIFORM
     CLAIM                                                      SCHEDULED    ASSERTED                   CLAIMS           CLAIMS
                               CLAIMANT           TRAN.
      NO.                                                      (FROM Form (FROM Proofs of              ALLOWED            PAID
                                                  CODE
                                                                    6F)        Claim)
   IPME005       RUSSELL DALBEY                  7100-000             NA             $22,299.00                $0.00            $0.00

   IPME004       MOKO MANAGEMENT                 7100-000             NA             $35,027.61                $0.00            $0.00

   IPME003       STATE OF COLORADO               7100-000             NA                    $0.00              $0.00            $0.00

   IPME002       FEDERAL TRADE COMMISSION        7100-000             NA          $330,084,354.7 $330,084,354.7         $348,821.30

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                              CLAIMS      CLAIMS
                                                UNIFORM
     CLAIM                                                  SCHEDULED    ASSERTED        CLAIMS       CLAIMS
                           CLAIMANT              TRAN.
      NO.                                                  (FROM Form (FROM Proofs of   ALLOWED        PAID
                                                 CODE
                                                                6F)        Claim)
   IPME001      SNELL & WILMER L.L.P.           7100-000       NA          $15,989.80    $15,989.80      $16.90

   DEI001UNS Franchise Tax Board (California)   7100-001       NA            $485.14       $485.14        $0.51

   DEI001PEN FRANCHISE TAX BOARD                7300-000       NA          $13,006.40    $13,006.40       $0.00

   DALBEY67 MARGARET RUFFALO                    7100-000       NA          $17,789.95         $0.00       $0.00

   DALBEY246 WASTE MANAGEMENT OF                7100-001       NA           $1,038.15     $1,038.15       $1.07

   DALBEY245 DE LAGE LANDEN FINANCIAL           7100-000       NA          $13,308.42    $13,308.42      $14.06

   DALBEY244 AMERICAN EXPRESS TRAVEL            7100-000       NA           $5,456.08     $5,456.08       $5.77

   DALBEY243 AMERICAN EXPRESS TRAVEL            7100-000       NA         $204,989.78   $204,989.78     $216.63

   DALBEY242 DAVID BUTLER                       7100-000       NA         $140,000.00   $140,000.00     $147.95

   DALBEY241 AMERICAN EXPRESS TRAVEL            7100-000       NA         $269,936.53   $269,936.53     $285.26

   DALBEY240 XCEL ENERGY SOUTH                  7100-000       NA          $22,416.43    $22,416.43      $23.69

   DALBEY239 BULLSEYE TELECOM INC.              7100-000       NA           $7,727.98     $7,727.98       $8.17

   DALBEY238 AOR DIRECT LLC                     7100-000       NA         $150,229.41   $150,229.41     $158.76

   DALBEY236 STEPHANE - ERIC PICHE              7100-000       NA          $98,578.42         $0.00       $0.00

   DALBEY235 JEANNIE MOORE                      7100-000       NA           $5,000.00         $0.00       $0.00

   DALBEY234 RONALD WILLIAM STEELE              7100-000       NA          $19,000.00         $0.00       $0.00

   DALBEY233 OSMOND PEARSON                     7100-000       NA          $16,000.00         $0.00       $0.00

   DALBEY232 BRENDA ANDERMAN                    7100-000       NA          $34,049.00         $0.00       $0.00

   DALBEY231 CATHERINE DALBEY                   7100-000       NA         $765,000.00         $0.00       $0.00

   DALBEY230 RUSSELL DALBEY                     7100-000       NA       $1,214,805.90         $0.00       $0.00

   DALBEY229 CAROL HINDERBERGER                 7100-000       NA           $4,500.00         $0.00       $0.00

   DALBEY228 CONLEY KEASLER                     7100-000       NA          $13,990.45         $0.00       $0.00

   DALBEY227 RICHARD B. SWANSON                 7100-000       NA          $20,874.80         $0.00       $0.00

   DALBEY226 DONALD & NANCY NOCE                7100-000       NA          $20,000.00         $0.00       $0.00

   DALBEY225 NICHOLAS FIELDS                    7100-000       NA             $29.82          $0.00       $0.00

   DALBEY224 PHYLLIS A. NYBAKKEN                7100-000       NA           $8,500.00         $0.00       $0.00

   DALBEY223 L V HERNANDEZ                      7100-000       NA           $9,500.00         $0.00       $0.00

   DALBEY222 RICHARD S. MIKSELL                 7100-000       NA           $4,077.00         $0.00       $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS      CLAIMS
                                              UNIFORM
     CLAIM                                                SCHEDULED    ASSERTED        CLAIMS      CLAIMS
                           CLAIMANT            TRAN.
      NO.                                                (FROM Form (FROM Proofs of   ALLOWED       PAID
                                               CODE
                                                              6F)        Claim)
   DALBEY221 RLJLodging II TEIT Sub Inc.      7100-000       NA          $39,938.36   $39,938.36      $42.21

   DALBEY220 PEACH VALLEY FAMILY MEDICAL      7100-000       NA            $169.53        $0.00        $0.00

   DALBEY219 AUSMAN JALLOH                    7100-000       NA           $3,500.00       $0.00        $0.00

   DALBEY218 PEGGY BARKSDALE                  7100-000       NA           $1,233.03       $0.00        $0.00

   DALBEY217 FLOYD E. MOORE                   7100-000       NA           $3,233.95       $0.00        $0.00

   DALBEY216 LINDA MOORE                      7100-000       NA           $9,000.00       $0.00        $0.00

   DALBEY215 DAVID L. PHILLIPS                7100-000       NA          $28,067.00       $0.00        $0.00

   DALBEY214 OSMOND PEARSON                   7100-000       NA          $14,000.00       $0.00        $0.00

   DALBEY213 BENNY COLE                       7100-000       NA           $2,138.95       $0.00        $0.00

   DALBEY212 CLAIR ELSBERRY                   7100-000       NA          $13,000.00       $0.00        $0.00

   DALBEY211 BRUCE M. OLSON                   7100-000       NA           $7,000.00       $0.00        $0.00

   DALBEY210 DAVID ABELL                      7100-000       NA           $8,939.95       $0.00        $0.00

   DALBEY209 NORM THOMPSON                    7100-000       NA          $12,000.00       $0.00        $0.00

   DALBEY208 JAMES S MCCLANE                  7100-000       NA           $9,550.00       $0.00        $0.00

   DALBEY207 BRETT W. JONES                   7100-000       NA          $23,538.95       $0.00        $0.00

   DALBEY206 BRUCE D. JOHNSON                 7100-000       NA          $25,000.00       $0.00        $0.00

   DALBEY205 NANCY SCHRAMM                    7100-000       NA          $34,000.00       $0.00        $0.00

   DALBEY204 HELEN M. HINES                   7100-000       NA           $9,000.00       $0.00        $0.00

   DALBEY203 JOHN WALKER                      7100-000       NA          $18,500.00       $0.00        $0.00

   DALBEY202 JOANNE LIVINGSTON FAHEY          7100-000       NA          $18,737.95       $0.00        $0.00

   DALBEY201 WILLIAM ROSS                     7100-000       NA           $8,590.00       $0.00        $0.00

   DALBEY200 KAREN BAKER                      7100-000       NA           $4,336.85       $0.00        $0.00

   DALBEY199 THADDEUS ONWUKA                  7100-000       NA           $3,478.30       $0.00        $0.00

   DALBEY198 DONNA M. GULLATO                 7100-000       NA          $23,500.00       $0.00        $0.00

   DALBEY197 DAN MCBRIDE                      7100-000       NA          $26,000.00       $0.00        $0.00

   DALBEY196 MARGARET RUFFALO                 7100-000       NA          $17,789.95       $0.00        $0.00

   DALBEY195 GLORIA TOTTEN                    7100-000       NA           $8,000.00       $0.00        $0.00

   DALBEY194 CORA J. COOK                     7100-000       NA           $8,096.95       $0.00        $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS      CLAIMS
                                              UNIFORM
     CLAIM                                                SCHEDULED    ASSERTED        CLAIMS     CLAIMS
                           CLAIMANT            TRAN.
      NO.                                                (FROM Form (FROM Proofs of   ALLOWED      PAID
                                               CODE
                                                              6F)        Claim)
   DALBEY193 FAYE BRINDEL                     7100-000       NA          $14,500.00       $0.00       $0.00

   DALBEY192 KAREN STETTES                    7100-000       NA          $25,000.00       $0.00       $0.00

   DALBEY191 MARK CLARIZIO                    7100-000       NA          $32,000.00       $0.00       $0.00

   DALBEY190 HERSHELL DODD                    7100-000       NA          $30,000.00       $0.00       $0.00

   DALBEY189 JOSHUA KANE                      7100-000       NA          $29,376.00       $0.00       $0.00

   DALBEY188 RUBEN RAMOS                      7100-000       NA           $3,138.95       $0.00       $0.00

   DALBEY187 DONNA CEROY                      7100-000       NA           $6,500.00       $0.00       $0.00

   DALBEY186 WILLIAM T. SHIRLEY               7100-000       NA          $25,501.92       $0.00       $0.00

   DALBEY185 SUSAN SHEPARD                    7100-000       NA           $4,200.00       $0.00       $0.00

   DALBEY184 CHAD                             7100-000       NA          $15,000.00       $0.00       $0.00

   DALBEY183 BRYAN P. O'REILLY                7100-000       NA          $15,000.00       $0.00       $0.00

   DALBEY182 ERIK KOEHN                       7100-000       NA          $17,400.00       $0.00       $0.00

   DALBEY181 SALVATORE GRISOLIA               7100-000       NA           $1,638.95       $0.00       $0.00

   DALBEY180 KARL SCHUHLEN                    7100-000       NA           $8,000.00       $0.00       $0.00

   DALBEY179 JAMEY WOOD                       7100-000       NA           $5,000.00       $0.00       $0.00

   DALBEY178 JOHN P. BOGGAN                   7100-000       NA          $20,000.00       $0.00       $0.00

   DALBEY177 ROBERT C COLEMAN                 7100-000       NA           $3,500.00       $0.00       $0.00

   DALBEY176 BONNIE WILSON                    7100-000       NA          $13,000.00       $0.00       $0.00

   DALBEY175 KERRY L. RATHSAM                 7100-000       NA          $10,500.00       $0.00       $0.00

   DALBEY174 THEODORE J. NELSON               7100-000       NA          $12,000.00       $0.00       $0.00

   DALBEY173 SARA C WEBB                      7100-000       NA          $21,300.00       $0.00       $0.00

   DALBEY172 PAUL THORNTON                    7100-000       NA          $10,000.00       $0.00       $0.00

   DALBEY171 CRAIG DETJEN                     7100-000       NA          $30,133.95       $0.00       $0.00

   DALBEY170 MICHAEL A. PIETILA               7100-000       NA           $7,165.90       $0.00       $0.00

   DALBEY169 CYNTHIA CARSON                   7100-000       NA          $37,000.00       $0.00       $0.00

   DALBEY168 BRANDY ZATARAIN                  7100-000       NA           $2,000.00       $0.00       $0.00

   DALBEY167 KAREN MOORE                      7100-000       NA          $25,000.00       $0.00       $0.00

   DALBEY166 JAMES MUELLER                    7100-000       NA          $25,400.00       $0.00       $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS      CLAIMS
                                              UNIFORM
     CLAIM                                                SCHEDULED    ASSERTED        CLAIMS     CLAIMS
                           CLAIMANT            TRAN.
      NO.                                                (FROM Form (FROM Proofs of   ALLOWED      PAID
                                               CODE
                                                              6F)        Claim)
   DALBEY165 MARK J. SIMMS                    7100-000       NA           $2,586.85       $0.00       $0.00

   DALBEY164 DAPHNE ROBINSON                  7100-000       NA          $10,000.00       $0.00       $0.00

   DALBEY163 CHARLES W. KEASLER               7100-000       NA          $25,000.00       $0.00       $0.00

   DALBEY162 BOB AND AUDRA SCHUESSLER         7100-000       NA           $6,000.00       $0.00       $0.00

   DALBEY161 DALE H. HENDRICKS                7100-000       NA          $12,000.00       $0.00       $0.00

   DALBEY160 PAM JUDD                         7100-000       NA           $3,500.00       $0.00       $0.00

   DALBEY159 DEANN K. CURE                    7100-000       NA          $12,000.00       $0.00       $0.00

   DALBEY158 IRMA LETICIA VAZQUEZ             7100-000       NA          $27,300.00       $0.00       $0.00

   DALBEY157 CAROLYN MARTIN                   7100-000       NA          $27,910.90       $0.00       $0.00

   DALBEY156 ADINA MORANDO                    7100-000       NA           $2,249.50       $0.00       $0.00

   DALBEY155 CHRIS SCHROEDER                  7100-000       NA           $7,539.95       $0.00       $0.00

   DALBEY154 RUSS FISCHER                     7100-000       NA          $25,000.00       $0.00       $0.00

   DALBEY153 SHIRLEY MCLAUCHLAN               7100-000       NA          $41,096.88       $0.00       $0.00

   DALBEY152 REBECCA YATES                    7100-000       NA           $8,500.00       $0.00       $0.00

   DALBEY151 WISTER M. VERNON                 7100-000       NA           $4,138.95       $0.00       $0.00

   DALBEY150 BRANT WAKEMAN                    7100-000       NA          $15,000.00       $0.00       $0.00

   DALBEY149 ANN LUNDER                       7100-000       NA          $31,010.72       $0.00       $0.00

   DALBEY148 ADELINA ZENOWICZ                 7100-000       NA           $3,000.00       $0.00       $0.00

   DALBEY147 ERIC WILSON                      7100-000       NA           $4,910.00       $0.00       $0.00

   DALBEY146 HAROLD WILLIAMS                  7100-000       NA          $30,000.00       $0.00       $0.00

   DALBEY145 TAI-JANE WANG                    7100-000       NA          $10,000.00       $0.00       $0.00

   DALBEY144 JACK A USHER                     7100-000       NA          $10,000.00       $0.00       $0.00

   DALBEY143 CHERYL TROSSBACH                 7100-000       NA           $4,250.00       $0.00       $0.00

   DALBEY142 PAUL THORNTON                    7100-000       NA          $10,000.00       $0.00       $0.00

   DALBEY141 KATHRYN STAMAS                   7100-000       NA          $14,567.00       $0.00       $0.00

   DALBEY140 YILAI SLADE                      7100-000       NA           $8,000.00       $0.00       $0.00

   DALBEY139 LEE SEELIG                       7100-000       NA          $30,632.00       $0.00       $0.00

   DALBEY138 NANCY SCHRAMM                    7100-000       NA          $34,000.00       $0.00       $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS      CLAIMS
                                              UNIFORM
     CLAIM                                                SCHEDULED    ASSERTED        CLAIMS     CLAIMS
                           CLAIMANT            TRAN.
      NO.                                                (FROM Form (FROM Proofs of   ALLOWED      PAID
                                               CODE
                                                              6F)        Claim)
   DALBEY137 LEONARD JOHN SANDBEK             7100-000       NA          $35,670.45       $0.00       $0.00

   DALBEY136 DONALD RUSSELL                   7100-000       NA          $11,500.00       $0.00       $0.00

   DALBEY135 MICHAEL ROST                     7100-000       NA          $15,801.00       $0.00       $0.00

   DALBEY134 BRIDGET ROSSON                   7100-000       NA           $6,500.00       $0.00       $0.00

   DALBEY133 PEARLIE MAE RIGDON               7100-000       NA          $13,000.00       $0.00       $0.00

   DALBEY132 J DARRELL RIDDLE                 7100-000       NA          $16,000.00       $0.00       $0.00

   DALBEY131 ROBERT E REITZ                   7100-000       NA          $14,534.95       $0.00       $0.00

   DALBEY130 JAMES K PHILLIPS                 7100-000       NA          $16,000.00       $0.00       $0.00

   DALBEY129 NADIA PELLEGRINO                 7100-000       NA           $7,995.00       $0.00       $0.00

   DALBEY128 JOAN PEACOCK                     7100-000       NA           $7,200.00       $0.00       $0.00

   DALBEY127 YVES NADEAU                      7100-000       NA          $17,495.00       $0.00       $0.00

   DALBEY126 CELY MULLANEY                    7100-000       NA          $10,643.95       $0.00       $0.00

   DALBEY125 CELY MULLANEY                    7100-000       NA          $10,643.95       $0.00       $0.00

   DALBEY124 JAMES MUELLER                    7100-000       NA          $25,400.00       $0.00       $0.00

   DALBEY123 BOBBY R MORRIS                   7100-000       NA           $5,500.00       $0.00       $0.00

   DALBEY122 RUSSELL MILLER                   7100-000       NA          $15,084.90       $0.00       $0.00

   DALBEY121 MICHELLE D. MILLER               7100-000       NA           $6,125.65       $0.00       $0.00

   DALBEY120 MIKE MELTZ                       7100-000       NA           $3,000.00       $0.00       $0.00

   DALBEY119 DEANA                            7100-000       NA          $10,400.00       $0.00       $0.00

   DALBEY118 DEANA                            7100-000       NA          $10,400.00       $0.00       $0.00

   DALBEY117 PAUL LUEBKE                      7100-000       NA          $26,000.00       $0.00       $0.00

   DALBEY116 JIMMY LLACUNA                    7100-000       NA          $15,000.00       $0.00       $0.00

   DALBEY115 ROD LIZEWSKI                     7100-000       NA           $9,000.00       $0.00       $0.00

   DALBEY114 GWEN LAPORTE                     7100-000       NA            $995.00        $0.00       $0.00

   DALBEY113 BARBARA KUTZBRIK                 7100-000       NA          $32,589.95       $0.00       $0.00

   DALBEY112 MARILYN L KLINE                  7100-000       NA           $2,000.00       $0.00       $0.00

   DALBEY111 CAROL KINDINGER                  7100-000       NA          $10,000.00       $0.00       $0.00

   DALBEY110 SUSAN P JONES                    7100-000       NA           $8,539.95       $0.00       $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS      CLAIMS
                                              UNIFORM
     CLAIM                                                SCHEDULED    ASSERTED        CLAIMS     CLAIMS
                           CLAIMANT            TRAN.
      NO.                                                (FROM Form (FROM Proofs of   ALLOWED      PAID
                                               CODE
                                                              6F)        Claim)
   DALBEY109 CHADWICK JAKEWAY                 7100-000       NA          $16,000.00       $0.00       $0.00

   DALBEY108 LAURA JACKSON                    7100-000       NA          $10,500.00       $0.00       $0.00

   DALBEY107 IGOR GURTS                       7100-000       NA          $16,624.80       $0.00       $0.00

   DALBEY106 JOHN GREEN                       7100-000       NA          $15,050.00       $0.00       $0.00

   DALBEY105 HARRIET FLICKA                   7100-000       NA           $6,000.00       $0.00       $0.00

   DALBEY104 PATRICIA EVANS                   7100-000       NA          $22,698.90       $0.00       $0.00

   DALBEY103 RON EARLY                        7100-000       NA          $15,000.00       $0.00       $0.00

   DALBEY102 AUDREY DIENELT                   7100-000       NA          $18,900.00       $0.00       $0.00

   DALBEY101 RYAN J DAVIS                     7100-000       NA           $3,000.00       $0.00       $0.00

   DALBEY100 RENEE CUNDIFF                    7100-000       NA          $11,000.00       $0.00       $0.00

   DALBEY099 THOMAS COYLE                     7100-000       NA          $30,806.15       $0.00       $0.00

   DALBEY098 TERESA COWDERY                   7100-000       NA          $27,329.95       $0.00       $0.00

   DALBEY097 STEVE CHAMPINE                   7100-000       NA          $26,000.00       $0.00       $0.00

   DALBEY096 JIM AND GAIL BROMAN              7100-000       NA          $24,000.00       $0.00       $0.00

   DALBEY095 ANDREAS BRAUN                    7100-000       NA          $22,000.00       $0.00       $0.00

   DALBEY094 LEE BOURQUIN                     7100-000       NA          $13,500.00       $0.00       $0.00

   DALBEY093 ELEANOR BAUGHMAN                 7100-000       NA           $7,638.95       $0.00       $0.00

   DALBEY092 PAUL G. BATZEL                   7100-000       NA          $15,572.66       $0.00       $0.00

   DALBEY091 JOSEPH M BATTAGLIESE             7100-000       NA          $15,800.00       $0.00       $0.00

   DALBEY090 EVA F. BARTLEY                   7100-000       NA           $5,006.29       $0.00       $0.00

   DALBEY089 GLEN ADAMS                       7100-000       NA          $18,000.00       $0.00       $0.00

   DALBEY088 PHILIP W. ANDERSON               7100-000       NA          $17,800.00       $0.00       $0.00

   DALBEY087 KIM BIDWELL                      7100-000       NA          $27,089.00       $0.00       $0.00

   DALBEY086 LARS G. FLINK                    7100-000       NA           $4,238.95       $0.00       $0.00

   DALBEY085 JEFF RYAN                        7100-000       NA          $31,000.00       $0.00       $0.00

   DALBEY084 MARVIN LLOYD                     7100-000       NA          $11,000.00       $0.00       $0.00

   DALBEY083 WILLIAM ROSS                     7100-000       NA           $8,590.00       $0.00       $0.00

   DALBEY082 ROSEMARIE STEPPAN                7100-000       NA          $30,565.94       $0.00       $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS      CLAIMS
                                              UNIFORM
     CLAIM                                                SCHEDULED    ASSERTED        CLAIMS     CLAIMS
                           CLAIMANT            TRAN.
      NO.                                                (FROM Form (FROM Proofs of   ALLOWED      PAID
                                               CODE
                                                              6F)        Claim)
   DALBEY081 BEVERLY JASTER                   7100-000       NA          $19,997.60       $0.00       $0.00

   DALBEY080 WILLIAM T. SHIRLEY               7100-000       NA          $25,501.92       $0.00       $0.00

   DALBEY079 BERNADETTE MCPHERSON             7100-000       NA          $25,000.00       $0.00       $0.00

   DALBEY078 DAPHNE ROBINSON                  7100-000       NA          $10,000.00       $0.00       $0.00

   DALBEY077 VIRGINIA KOWALSKI                7100-000       NA          $14,000.00       $0.00       $0.00

   DALBEY076 BOB AND AUDRA SCHUESSLER         7100-000       NA           $6,000.00       $0.00       $0.00

   DALBEY075 CANDACE BLANDFORD                7100-000       NA          $35,000.00       $0.00       $0.00

   DALBEY074 CAROL KINDINGER                  7100-000       NA          $10,000.00       $0.00       $0.00

   DALBEY073 BRIDGET ROSSON                   7100-000       NA           $6,500.00       $0.00       $0.00

   DALBEY072 JOSEPH S. DANTONY                7100-000       NA          $18,949.90       $0.00       $0.00

   DALBEY071 STEVEN HORRIGAN                  7100-000       NA          $20,467.41       $0.00       $0.00

   DALBEY070 MARCUS TERRY                     7100-000       NA            $938.95        $0.00       $0.00

   DALBEY069 GREG M. HONN                     7100-000       NA          $23,100.00       $0.00       $0.00

   DALBEY068 BRETT W. JONES                   7100-000       NA          $23,538.95       $0.00       $0.00

   DALBEY066 JOANNE LIVINGSTON FAHEY          7100-000       NA          $18,737.95       $0.00       $0.00

   DALBEY065 KAREN BAKER                      7100-000       NA           $4,336.85       $0.00       $0.00

   DALBEY064 CYNTHIA CARSON                   7100-000       NA          $37,000.00       $0.00       $0.00

   DALBEY063 CORA J. COOK                     7100-000       NA           $8,096.95       $0.00       $0.00

   DALBEY062 WARD HOWELL                      7100-000       NA          $23,733.95       $0.00       $0.00

   DALBEY061 LEE SEELIG                       7100-000       NA          $30,632.00       $0.00       $0.00

   DALBEY060 PATRICIA EVANS                   7100-000       NA          $22,698.90       $0.00       $0.00

   DALBEY059 PAUL LUEBKE                      7100-000       NA          $26,000.00       $0.00       $0.00

   DALBEY058 AUDREY DIENELT                   7100-000       NA          $18,900.00       $0.00       $0.00

   DALBEY057 YILAI SLADE                      7100-000       NA           $8,000.00       $0.00       $0.00

   DALBEY056 DAVE MUELLER                     7100-000       NA           $4,089.00       $0.00       $0.00

   DALBEY055 ADELINA ZENOWICZ                 7100-000       NA           $3,238.95       $0.00       $0.00

   DALBEY054 HARRIET TYKLA                    7100-000       NA           $6,000.00       $0.00       $0.00

   DALBEY053 SUSAN SHEPARD                    7100-000       NA           $4,200.00       $0.00       $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS      CLAIMS
                                              UNIFORM
     CLAIM                                                SCHEDULED    ASSERTED        CLAIMS     CLAIMS
                           CLAIMANT            TRAN.
      NO.                                                (FROM Form (FROM Proofs of   ALLOWED      PAID
                                               CODE
                                                              6F)        Claim)
   DALBEY052 ROBERT D. GURNEY                 7100-000       NA          $39,450.00       $0.00       $0.00

   DALBEY051 BRYAN P. O'REILLY                7100-000       NA          $15,000.00       $0.00       $0.00

   DALBEY050 BRUCE D. JOHNSON                 7100-000       NA          $25,000.00       $0.00       $0.00

   DALBEY049 NANCY HALL                       7100-000       NA           $7,900.00       $0.00       $0.00

   DALBEY048 SALVATORE GRISOLIA               7100-000       NA           $1,638.95       $0.00       $0.00

   DALBEY047 VELVET JONES                     7100-000       NA          $13,528.55       $0.00       $0.00

   DALBEY046 MARTHA BROWN                     7100-000       NA           $5,129.95       $0.00       $0.00

   DALBEY045 PAM JUDD                         7100-000       NA           $3,500.00       $0.00       $0.00

   DALBEY044 JOHN WALKER                      7100-000       NA          $18,500.00       $0.00       $0.00

   DALBEY043 SCOTT KING                       7100-000       NA          $24,831.85       $0.00       $0.00

   DALBEY042 JAMES BURSON                     7100-000       NA           $9,000.00       $0.00       $0.00

   DALBEY041 DONALD A. SMITH                  7100-000       NA          $15,000.00       $0.00       $0.00

   DALBEY040 EDWARD G. CHRZANOWSKI            7100-000       NA           $6,000.00       $0.00       $0.00

   DALBEY039 JANETTE RUNNELS DENTON           7100-000       NA          $27,571.38       $0.00       $0.00

   DALBEY038 BRANT WAKEMAN                    7100-000       NA          $13,000.00       $0.00       $0.00

   DALBEY037 CHRIS SCHROEDER                  7100-000       NA           $7,539.95       $0.00       $0.00

   DALBEY036 CAROL HEPPLER                    7100-000       NA           $5,396.95       $0.00       $0.00

   DALBEY035 DONNA CEROY                      7100-000       NA           $6,500.00       $0.00       $0.00

   DALBEY034 ANTO PUSUARIC                    7100-000       NA          $11,500.00       $0.00       $0.00

   DALBEY033 RICHARD JENSEN                   7100-000       NA          $52,126.93       $0.00       $0.00

   DALBEY032 DEANA                            7100-000       NA          $10,400.00       $0.00       $0.00

   DALBEY031 SUSAN BRANDT                     7100-000       NA          $12,008.90       $0.00       $0.00

   DALBEY030 ANTHONY DECARIO                  7100-000       NA           $6,000.00       $0.00       $0.00

   DALBEY029 KATHRYN STAMAS                   7100-000       NA          $14,567.00       $0.00       $0.00

   DALBEY028 REBECCA YATES                    7100-000       NA           $8,500.00       $0.00       $0.00

   DALBEY027 PEGGY A. SCHEMPP                 7100-000       NA          $38,089.50       $0.00       $0.00

   DALBEY026 HERSHELL DODD                    7100-000       NA          $30,000.00       $0.00       $0.00

   DALBEY025 ALBERT R. SNYDER                 7100-000       NA           $4,000.00       $0.00       $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS      CLAIMS
                                              UNIFORM
     CLAIM                                                SCHEDULED    ASSERTED        CLAIMS      CLAIMS
                           CLAIMANT            TRAN.
      NO.                                                (FROM Form (FROM Proofs of   ALLOWED       PAID
                                               CODE
                                                              6F)        Claim)
   DALBEY024 MARTHA A. EBARB                  7100-000       NA           $4,000.00        $0.00       $0.00

   DALBEY023 DAVID S. KIRKLAND                7100-000       NA          $23,700.00        $0.00       $0.00

   DALBEY022 FRANK CONLEY                     7100-000       NA          $12,000.00        $0.00       $0.00

   DALBEY021 DOLLY HONEYCUTT                  7100-000       NA          $25,000.00        $0.00       $0.00

   DALBEY020 BEATRICE SMITH                   7100-000       NA          $27,900.00        $0.00       $0.00

   DALBEY019 MARK CLARIZIO                    7100-000       NA          $32,000.00        $0.00       $0.00

   DALBEY018 STEVE CHAMPINE                   7100-000       NA          $26,000.00        $0.00       $0.00

   DALBEY017 MARIO ROMERO                     7100-000       NA           $2,000.00        $0.00       $0.00

   DALBEY016 RICARDO ZAMORA                   7100-000       NA           $7,500.00        $0.00       $0.00

   DALBEY015 WADE POOR                        7100-000       NA          $40,503.65        $0.00       $0.00

   DALBEY014 LORI KIESTER                     7100-000       NA          $15,088.25        $0.00       $0.00

   DALBEY013 JERRY CURTIS                     7100-000       NA          $33,939.69        $0.00       $0.00

   DALBEY012 JOHN LIEN                        7100-000       NA           $3,000.00        $0.00       $0.00

   DALBEY010 RODDY WILLIAMS                   7100-000       NA           $3,900.00        $0.00       $0.00

   DALBEY009 ROYCE E. ELLEDGE                 7100-000       NA           $5,638.95        $0.00       $0.00

   DALBEY008 NANCY ROONEY                     7100-000       NA          $40,000.00        $0.00       $0.00

   DALBEY007 RICHARD WOLF                     7100-000       NA           $5,100.00        $0.00       $0.00

   DALBEY006 CELY MULLANEY                    7100-000       NA          $10,643.95        $0.00       $0.00

   DALBEY005 RALPH BAMSCH                     7100-000       NA            $789.95         $0.00       $0.00

   DALBEY004 JEFFREY WOLF                     7100-000       NA          $13,000.00        $0.00       $0.00

   DALBEY003 FEDEX TECH CONNECT INC           7100-000       NA          $88,828.84   $88,828.84      $93.87

   DALBEY002 SANDY J. TURNER                  7100-000       NA          $20,138.95        $0.00       $0.00

   Dalbey0011 Christine Brouilette            7100-000       NA          $19,173.65        $0.00       $0.00

   DALBEY001 COLORADO DEPT. OF LABOR          7100-001       NA           $2,847.69    $2,847.69       $3.01

   DALB237PE COLO DEPARTMENT OF               7300-000       NA            $828.00       $828.00       $0.00

                Ackes Fire Protection                        $300.23       NA           NA             $0.00

                Alpha Ecological                             $463.00       NA           NA             $0.00

                American Express                             NA            NA           NA             $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                 CLAIMS      CLAIMS
                                                    UNIFORM
     CLAIM                                                     SCHEDULED    ASSERTED        CLAIMS   CLAIMS
                             CLAIMANT                TRAN.
      NO.                                                     (FROM Form (FROM Proofs of   ALLOWED    PAID
                                                     CODE
                                                                   6F)        Claim)
                American Express Business                        $5,259.81      NA           NA          $0.00

                American Express Merchant                         NA            NA           NA          $0.00

                American Family Life Insurance                   $1,006.20      NA           NA          $0.00

                American Teleservices                             NA            NA           NA          $0.00

                AOR Direct                                     $150,940.66      NA           NA          $0.00

                Apex Media, Inc.                                  NA            NA           NA          $0.00

                Athena Group, LLC                                 NA            NA           NA          $0.00

                Authorize.Net                                     NA            NA           NA          $0.00

                B                                                 NA            NA           NA          $0.00

                B2B Computer Products                             NA            NA           NA          $0.00

                Bank Of America                                  $4,930.62      NA           NA          $0.00

                BKM Marketing Associates, Inc.                   $4,525.00      NA           NA          $0.00

                Brokers Worldwide                                 NA            NA           NA          $0.00

                Bullseye Telecom, Inc.                           $7,613.77      NA           NA          $0.00

                Career Builder LLC                                $700.00       NA           NA          $0.00

                Cathy Dalbey                                    $35,617.22      NA           NA          $0.00

                Cathy Dalbey                                   $150,000.00      NA           NA          $0.00

                CFS Service Inc.                                 $7,767.47      NA           NA          $0.00

                Checkgateway                                      NA            NA           NA          $0.00

                Chem Screen, Inc.                                $1,408.00      NA           NA          $0.00

                Chief Media, LLC                                  NA            NA           NA          $0.00

                Church Ranch Land Company                         NA            NA           NA          $0.00

                Cisco Webex, LLC                                  NA            NA           NA          $0.00

                CIT Technology Financial Services                 NA            NA           NA          $0.00

                City Of Westminster                              $4,777.00      NA           NA          $0.00

                Collateral Resources, LLC                       $21,299.23      NA           NA          $0.00

                Compufact Research Inc                           $1,396.50      NA           NA          $0.00

                Custom Coffee                                     $951.58       NA           NA          $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                CLAIMS      CLAIMS
                                                   UNIFORM
     CLAIM                                                    SCHEDULED    ASSERTED        CLAIMS   CLAIMS
                             CLAIMANT               TRAN.
      NO.                                                    (FROM Form (FROM Proofs of   ALLOWED    PAID
                                                    CODE
                                                                  6F)        Claim)
                DEI: State of Colorado -                         NA            NA           NA          $0.00

                DEI: Federal Trade Commission                    NA            NA           NA          $0.00

                Denver Newspaper                                  $877.36      NA           NA          $0.00

                Disk2Day                                         NA            NA           NA          $0.00

                Easy Link Service Corporation                     $309.41      NA           NA          $0.00

                Employers Council Services, Inc.                $8,100.44      NA           NA          $0.00

                EON Office                                      $1,237.60      NA           NA          $0.00

                Euro RSCG DRTV                                $102,371.55      NA           NA          $0.00

                Experian Information Solutions                   NA            NA           NA          $0.00

                Experian Marketing Solutions                      $420.00      NA           NA          $0.00

                Federal Trade Commission David                   NA            NA           NA          $0.00

                Federal Trade Commission David                   NA            NA           NA          $0.00

                Federal Trade Commission David                   NA            NA           NA          $0.00

                Fedex                                          $87,889.67      NA           NA          $0.00

                FulCircle Inc.                                 $67,328.22      NA           NA          $0.00

                Hostmail                                          $831.10      NA           NA          $0.00

                Indeed, Inc.                                     NA            NA           NA          $0.00

                IPME, LLLP                                   $1,102,928.72     NA           NA          $0.00

                IPME: Mile High Bank                             NA            NA           NA          $0.00

                IPME: Moko Management                          $35,179.13      NA           NA          $0.00

                IPME: Russell Dalbey                            $2,299.00      NA           NA          $0.00

                IPME: Snell & Wilmer LLP                       $15,985.95      NA           NA          $0.00

                IPME: Dathy Dalbey                              $3,561.22      NA           NA          $0.00

                IPME: Federal Trade Commission                   NA            NA           NA          $0.00

                IPME: State of Colorado -                        NA            NA           NA          $0.00

                Iron Mountain Information                         $834.86      NA           NA          $0.00

                Ironware Technologies, LLC                       NA            NA           NA          $0.00

                Jefferson County Assessor                        NA            NA           NA          $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                               CLAIMS      CLAIMS
                                                  UNIFORM
     CLAIM                                                   SCHEDULED    ASSERTED        CLAIMS   CLAIMS
                           CLAIMANT                TRAN.
      NO.                                                   (FROM Form (FROM Proofs of   ALLOWED    PAID
                                                   CODE
                                                                 6F)        Claim)
                Jobing.Com                                      NA            NA           NA          $0.00

                Kowabunga Marketing                            $2,363.20      NA           NA          $0.00

                Lenovo, Inc.                                   $1,367.65      NA           NA          $0.00

                Limelight Networks Inc.                        $3,802.26      NA           NA          $0.00

                Lincoln National Life Insurance                 NA            NA           NA          $0.00

                LiveOps Inc.                                  $95,182.22      NA           NA          $0.00

                Lowe's                                          NA            NA           NA          $0.00

                Lyris Technologies, Inc.                      $16,875.00      NA           NA          $0.00

                MA Promotions LLC                               NA            NA           NA          $0.00

                Macromark, Inc.                                 NA            NA           NA          $0.00

                Mary Two Enterprises                            NA            NA           NA          $0.00

                McAfee Inc.                                     $700.00       NA           NA          $0.00

                MG Trust Company LLC                            NA            NA           NA          $0.00

                Mile High Bank                                  NA            NA           NA          $0.00

                Mile High Bank                                  NA            NA           NA          $0.00

                Moko Management Company                       $35,179.13      NA           NA          $0.00

                Monster Worldwide, Inc.                       $12,562.47      NA           NA          $0.00

                Mountain States Employers                      $1,150.00      NA           NA          $0.00

                Mr. Pool                                        $547.28       NA           NA          $0.00

                MSN Communications, Inc.                        NA            NA           NA          $0.00

                Newton Media Association, Inc.                  $361.00       NA           NA          $0.00

                Note Investments LLLP                         $25,000.00      NA           NA          $0.00

                Omni Interlocken Company                        NA            NA           NA          $0.00

                Omniture, Inc. Dept Ch                          NA            NA           NA          $0.00

                Oracle Corporation                              NA            NA           NA          $0.00

                Oracle Finance                                  NA            NA           NA          $0.00

                Oscar Burgos                                   $3,150.00      NA           NA          $0.00

                Phoenix Fire Systems, Inc.                      NA            NA           NA          $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                             CLAIMS      CLAIMS
                                                UNIFORM
     CLAIM                                                 SCHEDULED    ASSERTED        CLAIMS   CLAIMS
                           CLAIMANT              TRAN.
      NO.                                                 (FROM Form (FROM Proofs of   ALLOWED    PAID
                                                 CODE
                                                               6F)        Claim)
                PHSI Pure Water Finance                       NA            NA           NA          $0.00

                Pinnacol Assurance Dept                       NA            NA           NA          $0.00

                Pitney Bowes Global                          $3,686.75      NA           NA          $0.00

                Plan Three Productions                       $1,260.00      NA           NA          $0.00

                Power Imaging                                 NA            NA           NA          $0.00

                Premier Charters, Inc.                      $10,081.50      NA           NA          $0.00

                Premium Web Marketing, Inc.                  $1,500.00      NA           NA          $0.00

                Prepaid Solutions, Inc.                       NA            NA           NA          $0.00

                Pure Technologies Group, Inc.                 NA            NA           NA          $0.00

                Quad Graphics                                 NA            NA           NA          $0.00

                Qwest - Denver                              $15,130.42      NA           NA          $0.00

                Qwest - Louisville                          $74,648.93      NA           NA          $0.00

                Renaissance Hotels & Resorts                $39,413.42      NA           NA          $0.00

                RTD Properties, LLC                        $372,255.29      NA           NA          $0.00

                Russell Dalbey                            $1,723,156.60     NA           NA          $0.00

                Russell Dalbey                               $2,299.00      NA           NA          $0.00

                Safe Systems                                   $545.25      NA           NA          $0.00

                Schindler Elevator Corp.                       $574.80      NA           NA          $0.00

                SEO.Com                                      $9,600.00      NA           NA          $0.00

                Sherman & Howard LLC                        $21,840.13      NA           NA          $0.00

                Sirius Consulting, LLC                      $33,000.00      NA           NA          $0.00

                Snell & Wilmer LLP                          $17,083.20      NA           NA          $0.00

                Snell & Wilmer LLP                          $15,985.95      NA           NA          $0.00

                Stanley Access Tech LLC                        $133.50      NA           NA          $0.00

                State Of Colorado - Consumer                  NA            NA           NA          $0.00

                State Of Colorado - Consumer                  NA            NA           NA          $0.00

                State Of Colorado - Consumer                  NA            NA           NA          $0.00

                Stephen D. Tebo                            $114,473.20      NA           NA          $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                              CLAIMS      CLAIMS
                                                 UNIFORM
     CLAIM                                                  SCHEDULED    ASSERTED            CLAIMS         CLAIMS
                               CLAIMANT           TRAN.
      NO.                                                  (FROM Form (FROM Proofs of       ALLOWED          PAID
                                                  CODE
                                                                6F)        Claim)
                Stericycle Inc.                                 $752.50          NA             NA               $0.00

                Sterling Media                                $5,480.00          NA             NA               $0.00

                Talent Solutions                              $3,796.68          NA             NA               $0.00

                The Hays Group                               $13,422.25          NA             NA               $0.00

                Tolin Mechanical Systems Co                   $8,084.00          NA             NA               $0.00

                TransFirst EPay Systems                        NA                NA             NA               $0.00

                Tree Hill Landscaping                         $1,519.94          NA             NA               $0.00

                Treehouse Media Services, Inc.               $10,584.00          NA             NA               $0.00

                US Bank                                        NA                NA             NA               $0.00

                US Monitor                                      $170.00          NA             NA               $0.00

                Verifi, Inc.                                   NA                NA             NA               $0.00

                Wallace R. Nuanez                             $3,330.00          NA             NA               $0.00

                Waste Management of Denver                    $1,036.60          NA             NA               $0.00

                Westin Westminster Hotel                     $18,587.58          NA             NA               $0.00

                Wilfredo Jerez                                $1,400.00          NA             NA               $0.00

                Xcel Energy                                  $26,445.07          NA             NA               $0.00

                Xcentric Ventures Dba Ripoff                   NA                NA             NA               $0.00

                Zhaohui Zhou                                   NA                NA             NA               $0.00
                                                                           $336,671,341.0 $331,061,381.7
   TOTAL GENERAL UNSECURED CLAIMS                          $4,578,627.29                                   $349,839.16
                                                                                        1              1




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                                                                                                                                                                                         Page 1
                                                                                     FORM 1
                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                   ASSET CASES
               Case No: 11-32445                              Judge: Michael E. Romero                                                Trustee Name: Dennis W. King
            Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                               Date Filed (f) or Converted (c): 09/21/2011 (f)
                                                                                                                              341(a) Meeting Date: 10/24/2011
      For Period Ending: 07/12/2019                                                                                                 Claims Bar Date: 10/23/2017

                                      1                                     2                        3                      4                         5                           6
                                                                                                Est Net Value
                                                                                            (Value Determined by                                                       Asset Fully Administered
                                                                                                                     Property Formally
                               Asset Description                   Petition/Unscheduled      Trustee, Less Liens,                           Sale/Funds Received by       (FA) / Gross Value of
                                                                                                                        Abandoned
                   (Scheduled and Unscheduled (u) Property)                Values                Exemptions,                                      the Estate               Remaining Assets
                                                                                                                        OA=554(a)
                                                                                              and Other Costs)
1.      DALBEY - PETTY CASH - PREPAID VISA CARDS                                 2,907.70                 2,401.00                                          2,401.00             FA
2.      DALBEY - OPERATING BANK ACCOUNT                                            46.69                  2,312.19                                          2,312.19             FA
3.      DALBEY - PAYROLL BANK ACCOUNT                                                0.00                     1.59                                              1.59             FA
4.      DALBEY - 7 STEPS TO 720, LLC - RELATED PARTY RECEI                       1,024.00                 1,024.00                                              0.00             FA
5.      DALBEY - ACCOUNTS RECEIVABLE DUE FROM CUSTOMERS                      389,659.43                       0.00                                              0.00             FA
6.      DALBEY - EXPERIAN MARKETING SOLUTIONS                                    1,427.50                 1,496.68                                          1,496.68             FA
7.      DALBEY - HUMANA HEALTH INSURANCE                                          464.22                   464.22                                            464.22              FA
8.      DALBEY - ROB LEWIS - RECEIVABLE FROM EMPLOYEE                           33,725.91                     0.00                                              0.00             FA
9.      DALBEY - SEAN LEE - RECEIVABLE FROM EMPLOYEE                            30,588.57                     0.00                                              0.00             FA
10.     DALBEY - SUPERIOR VISION SERVICES                                          83.58                    83.58                                             83.58              FA
11.     DALBEY - TRANSFIRST - CHARGEBACK REVERSALS WON BY                    296,150.62                       0.00                                              0.00             FA
12.     DALBEY - WINNING IN BUSINESS, INC. - RELATED PARTY                      31,799.91                     0.00                                              0.00             FA
13.     DALBEY - INFOMERCIAL - INTANGIBLE ASSET                                 Unknown                       0.00                                              0.00             FA
14.     DALBEY - COMPUTER EQUIPMENT - SEE ATTACHMENT TO SC                      Unknown                   5,000.00                                          5,000.00             FA
15.     DALBEY - FURNITURE AND FIXTURES - SEE ATTACHMENT T                      Unknown                  10,000.00                                         10,000.00             FA
16.     DALBEY - LEASEHOLD IMPROVEMENTS - SEE ATTACHMENT T                      Unknown                  15,000.00                                         15,000.00             FA
17.     DALBEY - SOFTWARE - SEE ATTACHMENT TO SCHEDULE                          Unknown                       0.00                                              0.00             FA
18.     DALBEY - INVENTORY - SEE ATTACHMENT TO SCHEDULE B                       Unknown                       0.00                                              0.00             FA
19.     DALBEY - PREPAID BUSINESS EXPENSES - SEE ATTACHMEN                      44,485.00                     0.00                                              0.00             FA
20.     DALBEY - TRANSFIRST RESERVE - CREDIT CARD PROCESSI                 1,001,126.27               394,337.21                                          394,337.21             FA



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                                                                                                                                                                                          Page 2
                                                                                       FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                     ASSET CASES
               Case No: 11-32445                                Judge: Michael E. Romero                                               Trustee Name: Dennis W. King
            Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                Date Filed (f) or Converted (c): 09/21/2011 (f)
                                                                                                                               341(a) Meeting Date: 10/24/2011
      For Period Ending: 07/12/2019                                                                                                  Claims Bar Date: 10/23/2017

                                     1                                        2                       3                      4                         5                           6
                                                                                                 Est Net Value
                                                                                             (Value Determined by                                                       Asset Fully Administered
                                                                                                                      Property Formally
                              Asset Description                      Petition/Unscheduled     Trustee, Less Liens,                           Sale/Funds Received by       (FA) / Gross Value of
                                                                                                                         Abandoned
                  (Scheduled and Unscheduled (u) Property)                   Values               Exemptions,                                      the Estate               Remaining Assets
                                                                                                                         OA=554(a)
                                                                                               and Other Costs)
21.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Marketin (u)                         0.00                     0.00                                              0.00             FA
22.    DALBEY - Pitney Bowes Meter Refund (u)                                         0.00                     9.84                                              9.84             FA
23.    DALBEY - PROSPER INC. RESERVE PAYMENTS (u)                                     0.00                  896.91                                            896.91              FA
24.    DALBEY - GOOGLE SETTLEMENT (u)                                                 0.00                  843.41                                            843.41              FA
25.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER -- First W (u)                         0.00                50,000.00                                         50,000.00             FA
26.    DALBEY - RETAINER BALANCE FROM SHOEMAKER ET AL (u)                             0.00                22,526.69                                         22,526.69             FA
27.    DALBEY - GOKARE SETTLEMENT (u)                                                 0.00                  379.74                                            379.74              FA
28.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Newton (u)                           0.00                 4,500.00                                          4,500.00             FA
29.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Den Secu (u)                         0.00                 2,100.00                                          2,100.00             FA
30.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER/Day dba Pr (u)                         0.00                 3,000.00                                          3,000.00             FA
31.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER -The Hays (u)                          0.00                 3,250.00                                          3,250.00             FA
32.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Cisco (u)                            0.00                 5,000.00                                          5,000.00             FA
33.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Farella (u)                          0.00             160,000.00                                          160,000.00             FA
34.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Pfinix (u)                           0.00                 1,500.00                                          1,500.00             FA
35.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER -- Havas E (u)                         0.00                11,000.00                                         11,000.00             FA
36.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER -- JPMorga (u)                         0.00                 2,750.00                                          2,750.00             FA
37.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - LiveOps (u)                          0.00                10,000.00                                         10,000.00             FA
38.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER -- Moye Wh (u)                         0.00                 7,500.00                                          7,500.00             FA
39.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Aero/The (u)                         0.00                10,000.00                                         10,000.00             FA
40.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER-AM Express (u)                         0.00                 7,500.00                                          7,500.00             FA



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                                                                                                                                                                                          Page 3
                                                                                       FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                     ASSET CASES
               Case No: 11-32445                                Judge: Michael E. Romero                                               Trustee Name: Dennis W. King
            Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                Date Filed (f) or Converted (c): 09/21/2011 (f)
                                                                                                                               341(a) Meeting Date: 10/24/2011
      For Period Ending: 07/12/2019                                                                                                  Claims Bar Date: 10/23/2017

                                     1                                        2                       3                      4                         5                           6
                                                                                                 Est Net Value
                                                                                             (Value Determined by                                                       Asset Fully Administered
                                                                                                                      Property Formally
                              Asset Description                      Petition/Unscheduled     Trustee, Less Liens,                           Sale/Funds Received by       (FA) / Gross Value of
                                                                                                                         Abandoned
                  (Scheduled and Unscheduled (u) Property)                   Values               Exemptions,                                      the Estate               Remaining Assets
                                                                                                                         OA=554(a)
                                                                                               and Other Costs)
41.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Sykes F (u)                          0.00                     0.00                                              0.00             FA
42.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Successf (u)                         0.00             125,636.50                                                0.00             FA
43.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER -- COCAL R (u)                         0.00             106,561.43                                                0.00             FA
44.    DABLEY - PREFERENCE/FRAUDULENT TRANSFER - Moko Man (u)                         0.00                 9,305.80                                              0.00             FA
45.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Joy Prod (u)                         0.00             192,793.00                                                0.00             FA
46.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Whipplew (u)                         0.00                25,000.00                                         25,000.00             FA
47.    DALBEY - FRAUDULENT TRANSFER - MARILENA DALBY (u)                              0.00             450,000.00                                          450,000.00             FA
48.    DALBEY - FRAUDULENT TRANSFERS - Catherine Dalbey (u)                           0.00           2,491,776.94                                                0.00             FA
49.    DALBEY - FRAUDULENT TRANSFER -- Russell Dalbey (u)                             0.00           1,527,386.35                                                0.00             FA
50.    DALBEY - PREFERENCE/FRAUDULENT TRANSFER - Colorado (u)                         0.00                 6,921.00                                              0.00             FA
51.    DALBEYH - PREFERENCE/FRAUDULENT TRANSFER - AOR Dir (u)                         0.00                     0.00                                              0.00             FA
52.    IPME - OPERATING BANK ACCOUNT #2156 (u)                                        0.00                   46.69                                             46.69              FA
53.    IPME - A/R DALBEY EDUC. INST.                                         1,154,770.77                      0.00                                              0.00             FA
54.    IPME - VARIOUS ITEMS OF INTELLECTUAL PROPERTY                                  0.00                     0.00                                              0.00             FA
55.    IPME - PREPAID BUSINESS EXPENSES: PACIFIC TITLE AR                          432.00                      0.00                                              0.00             FA
56.    IPME - PREPAID BUSINESS EXPENESES: GIGA INTERN HOS                         1,726.44                     0.00                                              0.00             FA
57.    IPME - A/R - THE GOODMAN GROUP, LLC (u)                                        0.00             255,854.37                                          255,854.37             FA
58.    IPME - PREFERENCE/FRAUDULENT TRANSFER: MACROMARK (u)                           0.00                 3,000.00                                          3,000.00             FA
59.    IPME - ACCOUNTS RECEIVABLE: MACROMARK, INC. (u)                                0.00                   25.00                                             25.00              FA
60.    IPME - PREFERENCE/FRAUDULENT TRANSFER: JJS & A, IN (u)                         0.00                 4,750.00                                          4,750.00             FA



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                                                                                                                                                                                                                  Page 4
                                                                                                   FORM 1
                                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                 ASSET CASES
               Case No: 11-32445                                           Judge: Michael E. Romero                                                        Trustee Name: Dennis W. King
            Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                    Date Filed (f) or Converted (c): 09/21/2011 (f)
                                                                                                                                                   341(a) Meeting Date: 10/24/2011
      For Period Ending: 07/12/2019                                                                                                                      Claims Bar Date: 10/23/2017

                                      1                                                     2                          3                          4                           5                             6
                                                                                                                 Est Net Value
                                                                                                             (Value Determined by                                                               Asset Fully Administered
                                                                                                                                          Property Formally
                               Asset Description                                  Petition/Unscheduled        Trustee, Less Liens,                                 Sale/Funds Received by         (FA) / Gross Value of
                                                                                                                                             Abandoned
                   (Scheduled and Unscheduled (u) Property)                               Values                  Exemptions,                                            the Estate                 Remaining Assets
                                                                                                                                             OA=554(a)
                                                                                                               and Other Costs)
61.    PREFERENCE/FRAUDULENT TRANSFER: DM360 (u)                                                    0.00                    6,000.00                                              6,000.00                FA
62.    IPME - PREFERENCE/FRAUDULENT TRANSFER: XL MARKETIN (u)                                       0.00                    1,500.00                                              1,500.00                FA
63.    IPME - PREFERENCE/FRAUDULENT TRANSFER: ALBERT MOOR (u)                                       0.00                    1,000.00                                              1,000.00                FA
64.    IPME - PREFERENCE/FRAUDULENT TRANSFER: SUCCESSFUL (u)                                        0.00                   55,313.00                                                   0.00               FA
65.    IPME - PREFERENCE/FRAUDULENT TRANSFER: SUCESSFUL L (u)                                       0.00                   14,613.14                                                   0.00               FA
66.    IPME - PREFERENCE/FRAUDULENT TRANSFER: SUCCESSFUL (u)                                        0.00                   13,592.51                                                   0.00               FA
67.    IPME - PREFERENCE/FRAUDULENT TRANSFER: SUCCESSFUL (u)                                        0.00                   10,189.10                                                   0.00               FA
68.    IPME - PREFERENCE/FRAUDULENT TRANSFER: SUCCESSFUL (u)                                        0.00                    6,319.98                                                   0.00               FA
69.    IPME - PREFERENCE/FRAUDULENT TRANSFER: NOUSPHERE, (u)                                        0.00                        0.00                                                   0.00               FA
70.    IPME - PREFERENCE/FRAUDULENT TRANSFER - MOKO MANAG (u)                                       0.00                   22,641.43                                                   0.00               FA
71.    IPME - PREFERENCE/FRAUDULENT TRANSFER: SUCCESSFUL (u)                                        0.00               130,667.19                                                      0.00               FA
72.    IPME - PREFERENCE/FRAUDULENT TRANSFER: SUCCESSFUL (u)                                        0.00                   26,670.02                                                   0.00               FA
73.    IPME - Post-Petition Interest Deposits (u)                                                   0.00                        0.52                                                   0.52               FA
INT. DALBEY - Post-Petition Interest Deposits (u)                                                   0.00                         NA                                                    2.29               FA

                                                                                                                                                                                         Gross Value of Remaining Assets

  TOTALS (Excluding Unknown Values)                                                      2,990,418.61               6,222,441.03                                              1,481,031.93                             0.00


  Re Prop. #1 pending auction by Dickensheet & Associates, Inc.
  Re Prop. #2 Acct # 6413
  Re Prop. #3 Acct #5198
  Re Prop. #4 Attorney advises that the claim is uncollectable.
  Re Prop. #8 Reviewed by counsel, demand made, but employees were uncooperative, and counsel advised that the collection and litigation costs would likely exceed the potential recovery. The Trustee believes that


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                                                                                                   FORM 1
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                                                                                                 ASSET CASES
            Case No: 11-32445                                               Judge: Michael E. Romero                                                         Trustee Name: Dennis W. King
         Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                         Date Filed (f) or Converted (c): 09/21/2011 (f)
                                                                                                                                                     341(a) Meeting Date: 10/24/2011
  For Period Ending: 07/12/2019                                                                                                                            Claims Bar Date: 10/23/2017

                                     1                                                       2                           3                           4                            5                             6
                                                                                                                  Est Net Value
                                                                                                              (Value Determined by                                                                  Asset Fully Administered
                                                                                                                                            Property Formally
                             Asset Description                                     Petition/Unscheduled        Trustee, Less Liens,                                    Sale/Funds Received by         (FA) / Gross Value of
                                                                                                                                               Abandoned
                 (Scheduled and Unscheduled (u) Property)                                  Values                  Exemptions,                                               the Estate                 Remaining Assets
                                                                                                                                               OA=554(a)
                                                                                                                and Other Costs)

there is no value to this asset to the Estate.
Re Prop. #9 Reviewed by counsel, demand made, but employees were uncooperative, and counsel advised that the collection and litigation costs would likely exceed the potential recovery. The Trustee believes that
there is no value to this asset to the Estate.
Re Prop. #11 Settlement made with Transfirst. See correct asset listing. This asset listing is duplicative.
Re Prop. #12 Winning in Business, Inc. is the predecessor to DEI, LLLP, the entity that owns Dalbey Education Instituted LLC. DEI has also filed Chapter 7 Bankrutpcy, and has not realizable assets to recovery. The Trustee
has been advised that there is no value to this asset listed by the Debtor.
Re Prop. #14 To the extent that the Debtor had an onwership interest in this property, this property is included in the sale to Mile High Banks approved by Court Order Approving Purchase and Sale Agreement (Church
Ranch Blvd. Personal Property), entered October 3, 2012. The Debtor may have leased equipment which would not be property of the estate, and would not be included in the sale. Sale proceeds allocated to this asset is
$5,000.00.
Re Prop. #15 This property is included in the sale to Mile High Banks approved by Court Order Approving Purchase and Sale Agreement (Church Ranch Blvd. Personal Property), entered October 3, 2012. Sale proceeds
allocated to this asset is $10,000.00.
Re Prop. #16 This property is included in the sale to Mile High Banks approved by Court Order Approving Purchase and Sale Agreement (Church Ranch Blvd. Personal Property), entered October 3, 2012. The emergency
generator is included in this asset. Sale proceeds allocated to this asset is $15,000.00.
Re Prop. #17 Software that is inventory is worthless based on FTC and Colorado AG litigation. The software installed on business computers has no market value since the ownership rights to such software is retained by
the company issuing the software. This includes the Oracle software and software licensed to the Debtor.
Re Prop. #18 Value of inventory is worthless considering the FTC and Colorado AG litigation.
Re Prop. #19 It now appears that these "prepaid" buisness expenses were fully used at the time of filing for valid business expenses, or cannot be recovered from the employees of the company. The attorney for the
Estate suggests that on the date of filing, the value of these assets was actually $0.00.
Re Prop. #20 Accounting complete. Attorney resolved with Adversary. Funds collected.
Re Prop. #21 Preference recovery from Marketing Technologies, Inc. AP # 13-1520 SBB. Case dismissed. The Complaint was for $13,265.82. Since the payment by the Debtor, the corporation ceased doing business, and
counsel advised that the cost to collect the funds would far exceed the amount recoverable.
Re Prop. #24 Settlement proceeds from class action Hanson v. Google, for advertising funds.
Re Prop. #25 Compromise/settlement with First Western Financial Inc. in Adversary Proceeding #12-1460-SBB on preference payments.
Re Prop. #26 Retainer paid to attorneys, Shomaker, Ghiselli & Schwartz, LLC, resolved by settlement with Debtor. Order entered on the Motion to Approve Tolling Agreement, entered on 9/6/13.
Re Prop. #27 Class action settlement in Manjunath Gokare v Fed Expeness.
Re Prop. #28 Preference Settlement with Newton Media Associates, Inc. Order approving settlement entered on 2/4/14. AP #13-1521-SBB
Re Prop. #29 Settlement with Denver Security Services, LLC
Re Prop. #30 Compromise with Robert W. Day III, dba Prime Time Pictures
Re Prop. #31 Preference recovery from The Hays Group, Inc. Order approving settlement entered 2/18/14.
Re Prop. #32 Preference recovery settlement from Cisco Systems Capital Corporation/funds received from attorneys Bialson, Bergen & Schwab, PC.
Re Prop. #33 Preference/fraudulent transfer recovery of payments made to Farella Braun + Martel LLP
Re Prop. #34 Preference/Fraudulent transfer settlement with Pfinix Creative Group
Re Prop. #35 Preference recovery compromise fromHavas Edge, AP#13-1548-SBB. Order approving settlement entered on 4/19/14.


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                                                                                                 ASSET CASES
            Case No: 11-32445                                              Judge: Michael E. Romero                                                         Trustee Name: Dennis W. King
         Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                        Date Filed (f) or Converted (c): 09/21/2011 (f)
                                                                                                                                                    341(a) Meeting Date: 10/24/2011
  For Period Ending: 07/12/2019                                                                                                                           Claims Bar Date: 10/23/2017

                                     1                                                      2                           3                          4                            5                              6
                                                                                                                  Est Net Value
                                                                                                              (Value Determined by                                                                 Asset Fully Administered
                                                                                                                                           Property Formally
                             Asset Description                                    Petition/Unscheduled         Trustee, Less Liens,                                   Sale/Funds Received by         (FA) / Gross Value of
                                                                                                                                              Abandoned
                 (Scheduled and Unscheduled (u) Property)                                 Values                   Exemptions,                                              the Estate                 Remaining Assets
                                                                                                                                              OA=554(a)
                                                                                                                and Other Costs)

Re Prop. #36 Preference recovery from JPMorgan Chase.
Re Prop. #37 Settlement of preference payment to LiveOps, Inc./ King v. LiveOps, Inc., AP# 13-1517-SBB.
Re Prop. #38 Compromse and settlement of preference payments to Moye White LLP. Order approving settlement and compromise entered on 5/28/14.
Re Prop. #39 Preference compromise with Aero media, LLC, doing business as The Cross Agency, AP # 13-1494-SBB.
Re Prop. #40 Preference compromise with Ameircan Express Company. Order entered 5/28/14 approving settlement.
Re Prop. #41 Preference payments to Jeremy Sykes Film and Television, Inc. Counsel filed AP #13-1523, seeking $6,605.00. Investigation disclosed corporation unable to hire counsel and repay the preference payment,
and that collection of the judgment would likely result in greater costs than reovery. Case dismissed.
Re Prop. #42 Default Judgment against Successful Living, Inc. entered in AP #13-1544 on 7/24/14. Successful Living, Inc. was a "sister" entity to the Debtor and IPME, is not longer in business, has not discernable assets,
and collection if very unlikely.
Re Prop. #43 Default Judgment entered against COCAL Real Estate investments, LLLP in AP# 13-1547 on 7/24/14. Collection is questionable. The judgment will be abalndoned at closing.
Re Prop. #44 Default Judgment entered against Moko Management Co, LLC in AP # 13-1551 on 7/25/14. Moko Management, Inc. was a "sister" entity to the Debtor and IPME, is not longer in business, has not discernable
assets, and collection if very unlikely.
Re Prop. #45 Default Judgment entered against Joy Productions, Inc. in AP# 13-1552 on 7/25/14. Joy Productions, Inc. was a "sister" entity to the Debtor and IPME, is not longer in business, has not discernable assets, and
collection if very unlikely.
Re Prop. #46 Compromise of preference payments with Whipplewood CPA's, P.C., AP # 13-1553. Settlement approved by Court on 10/20/14.
Re Prop. #47 Complaint filed against Marilena Dalby for recovery of Fraudulent Transfers by Debtor. AP# 14-01196 Compromise settlement for $450,000.00 was approved by the Court on 8/5/15, and the Adversary was
dismissed on 9/29/15. The Trustee's balance of $300,000 is secured by a Deed of Trust on the Mother's (Marilena Dalby) home in Orange County, California, and the home has been placed on the market for sale.
Re Prop. #48 Complaint filed against Catherine Dalby for recovery of Fraudulent Transfers by Debtor. Pending trial. AP# 14-01208. Stipulated judgment entered 7/1/15. The judgment is uncollectable, and will be
abandoned at closing.
Re Prop. #49 Complaint filed against Russell Dalby for recovery of Fraudulent Transfers by Debtor. Pending trial. AP# 14-01209. Stipulated judgment entered on 7/1/15. The judgment is uncollectable, and will be
abandoned at closing.
Re Prop. #50 Default Judgment against Colorado Cleaning Services, Inc. entered in AP# 13-1490 on 3/27/14. The judgment is uncollectable, and will be abandoned at closing.
Re Prop. #51 Complaint filed against AOR Direct, LLC, AP# 13-01493. Adversary dismissed. Defendant is not in business, and collection of the alleged preference would not be cost effective. Trustee has dismissed the case
effectiver 10/14/14.
Re Prop. #52 Related Case: DALBEY EDUCATION INSTITUTE, LLC, Case No. 11-32445-SSB and DEI, LLLP Case No. 11-32446-SBB. On 6/19/15 Dalbey Education Institute, LLC, DEI, LLLP and IPME, LLP were Substantively
Consolidated, with Dalbey Education Institute, LLC as the lead case. These are the funds transfered into the Dalbey Education Institute, LLC as a result of the Court's 6/19/15 Order.
Re Prop. #53 Dalbey Education Institute, LLC filed Chapter 7 Bankruptcy on 9/21/11. The case appears to be administratively insolvent, and there will be no funds for distribution to IPME.
Re Prop. #54 No market for the intellectual property, following the FTC litigation and settlement.
Re Prop. #55 Attorney found no prepaid funds held by Pacific Title Archive.
Re Prop. #56 Attorney found no prepaid funds held by Giga Intern. Hosting.
Re Prop. #57 Cable and satellite copyright royalties, from broadcasts in US and Canada. Royalties through agent Goodman Group, Inc. Trustee's guess of the royalties is totally arbitrary at this point. The Canadian
royaties are through 2011 and the US royalties are through, it appears, 2010. Since the broadcasts dropped in number in 2011 and stopped in 2012 and beyond, the royalty payments are likely near and end, and will
decease in amount.


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            Case No: 11-32445                                                 Judge: Michael E. Romero                                                          Trustee Name: Dennis W. King
         Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                            Date Filed (f) or Converted (c): 09/21/2011 (f)
                                                                                                                                                        341(a) Meeting Date: 10/24/2011
  For Period Ending: 07/12/2019                                                                                                                               Claims Bar Date: 10/23/2017

                                      1                                                         2                           3                           4                             5                              6
                                                                                                                        Est Net Value
                                                                                                                   (Value Determined by                                                                    Asset Fully Administered
                                                                                                                                                   Property Formally
                                Asset Description                                      Petition/Unscheduled          Trustee, Less Liens,                                    Sale/Funds Received by          (FA) / Gross Value of
                                                                                                                                                      Abandoned
                   (Scheduled and Unscheduled (u) Property)                                    Values                   Exemptions,                                                 the Estate                 Remaining Assets
                                                                                                                                                      OA=554(a)
                                                                                                                      and Other Costs)
Re Prop. #58 Preference recovery from Macromark, Inc. settlement of litigation in AP #13-1538-SBB. Approved by Court 3/5/14.
Re Prop. #59 Fee paid by Macromark, Inc. for issuing a check on a closed account.
Re Prop. #60 Settlement of preference recovery litigation against JJS & A, Inc. (AP # 13015390-SBB) Approved by Court on 3/5/14.
Re Prop. #61 King v. DM350, Inc. preference recovery litigation (AP# 13-1537 SBB) settlement. Approved by the Court on 3/25/14.
Re Prop. #62 Preference settlement with XL Marketing Group, Inc., represented by Lindquist & Vennum LLP, from litigation AP # 13-1541-SBB. Approved by Court 4/4/14
Re Prop. #63 Preference recovery from Albert Moore, d/b/a C/4 Communications. Settlement approved by Court 4/22/14.
Re Prop. #64 Fraudulent Transfer to Successful Living, Inc. in AP# 13-1537, King v. "DMS 360, Inc. and Successful Living, Inc. Default Judgment entered on 6/11/14. Successful Living, Inc. was a "sister" entity to the Debtor
and IPME, is not longer in business, has not discernable assets, and collection if very unlikely.
Re Prop. #65 Fraudulent Transfer Complaint filed against Successful Living, Inc. AP# 13-1538. King v. Macromark, Inc. and Successful Living, Inc. Default Judgment entered on 10/20/14. Successful Living, Inc. was a
"sister" entity to the Debtor and IPME, is not longer in business, has not discernable assets, and collection if very unlikely.
Re Prop. #66 Fraudulent transfer to Successful Living, Inc. AP# 13-01539. King v. JJS&A, Inc. and Successful Living, Inc. Default entered against Successful Living, Inc. on 10/7/14. Successful Living, Inc. was a "sister" entity
to the Debtor and IPME, is not longer in business, has not discernable assets, and collection if very unlikely.
Re Prop. #67 Fraudulent Transfer. King v. Albert Moore dba C/4 Communications and Successful Living, Inc. Default Judment entered against Successful Living, Inc., in AP # 13-01540 on 6/16/14. Successful Living, Inc. was
a "sister" entity to the Debtor and IPME, is not longer in business, has not discernable assets, and collection if very unlikely.
Re Prop. #68 Fraudulent transfer to Successful Living, Inc. King v. XL Marketing Group, Inc. and Successful Living, Inc. Default Judgment for Fraudulent Transfers entered against Successful Living, Inc., AP# 13-1541 on
6/11/14. Successful Living, Inc. was a "sister" entity to the Debtor and IPME, is not longer in business, has not discernable assets, and collection if very unlikely.
Re Prop. #69 Complaint for Fraudulent Transfers filed against NUESPHERE, Inc. and Successful Livng, Inc., AP# 13-1542. Based on investigation by counsel, it appears that Neusphere is financially unable to litigate or
refund the funds paid by the Debtor, and that futher litigation costs would not result in any beneficial recovery for the Estate. Successful Living, Inc. was a "sister" entity to the Debtor and IPME, is not longer in business,
has not discernable assets, and collection if very unlikely. The case was dismissed on 3/26/14.
Re Prop. #70 King v. Moko Management, LLC. Default Judgment entered against MOKO Management Co., LLC in AP # 13-1549 on 7/24/14 in the amount of $22,641.43. Moko Management, Inc. was a "sister" entity to
the Debtor and IPME, is not longer in business, has not discernable assets, and collection if very unlikely.
Re Prop. #71 King v. Successful Living, Inc. Default Judgment entered against Successful Living, Inc., in AP # 13-1550, on 7/25/14 in the amount of $130,667.19. Successful Living, Inc., AP# 13-1541 on 6/11/14. Successful
Living, Inc. was a "sister" entity to the Debtor and IPME, is not longer in business, has not discernable assets, and collection if very unlikely.
Re Prop. #72 King v. First Western Trust Bank & Successful Living, Inc.. Default Judgment entered against Successful Living, Inc. in AP # 1554 on 7/9/14. Defendant First Western Trust Bank was dismissed from the case,
based on information provided by its counsel to the Trustee's attorney related to defenses believed to have merit. The Court dismissed the complaint as to First Western Trust Bank on 3/17/14. Successful Living, Inc. was
a "sister" entity to the Debtor and IPME, is not longer in business, has not discernable assets, and collection if very unlikely.


Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

TFR submitted to UST on 2/12/19.




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           Case No: 11-32445                               Judge: Michael E. Romero                                                Trustee Name: Dennis W. King
        Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                Date Filed (f) or Converted (c): 09/21/2011 (f)
                                                                                                                           341(a) Meeting Date: 10/24/2011
  For Period Ending: 07/12/2019                                                                                                  Claims Bar Date: 10/23/2017

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                                                                                            Est Net Value
                                                                                        (Value Determined by                                                        Asset Fully Administered
                                                                                                                  Property Formally
                           Asset Description                    Petition/Unscheduled     Trustee, Less Liens,                            Sale/Funds Received by       (FA) / Gross Value of
                                                                                                                     Abandoned
               (Scheduled and Unscheduled (u) Property)                 Values               Exemptions,                                       the Estate               Remaining Assets
                                                                                                                     OA=554(a)
                                                                                          and Other Costs)


Initial Projected Date of Final Report(TFR) : 12/15/2014    Current Projected Date of Final Report(TFR) : 12/15/2018


Trustee’s Signature       /s/Dennis W. King                               Date: 07/12/2019
                          Dennis W. King
                          PO Box 460609
                          Aurora, CO 80046-0609
                          Phone : (303) 751-3200




UST Form 101-7-TDR (10/1/2010) (Page 28)                                                                                                                                Exhibit 8
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                                                                                           FORM 2                                                                                              Page 1
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                          Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                      Bank Name: Bank of America
                                                                                                                                     Account Number/CD#: ******4259 Money Market Account
       Taxpayer ID No: **-***9612                                                                                           Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                           Separate bond (if applicable): 0.00

    1                   2                              3                                          4                                            5                     6                   7
                                                                                                                        Uniform
Transaction          Check or                                                                                            Trans.                                                      Account/ CD
   Date              [Refer#]              Paid To / Received From                  Description of Transaction           Code             Deposits($)        Disbursements($)         Balance($)
10/05/2011              [6]       Experian                                Accounts receivable collection                1129-000                1,496.68                                      1,496.68


10/10/2011             [10]       Superior Vision Services, Inc.          Return of overpayment of vendor.              1121-000                    83.58                                     1,580.26


10/18/2011              [7]       Humana                                  Insurance Premium Refund                      1129-000                   464.22                                     2,044.48


10/31/2011             [INT]      BANK OF AMERICA, N.A.                   Interest Rate 0.010                           1270-000                     0.01                                     2,044.49


11/30/2011             [INT]      BANK OF AMERICA, N.A.                   Interest Rate 0.010                           1270-000                     0.02                                     2,044.51


11/30/2011                        BANK OF AMERICA, N.A.                   BANK SERVICE FEE                              2600-000                                           2.52               2,041.99


12/20/2011             [22]       Piney Bowes                             Refund                                        1221-000                     9.84                                     2,051.83


12/30/2011             [INT]      BANK OF AMERICA, N.A.                   Interest Rate 0.010                           1270-000                     0.02                                     2,051.85


12/30/2011                        BANK OF AMERICA, N.A.                   BANK SERVICE FEE                              2600-000                                           2.52               2,049.33


01/31/2012             [INT]      BANK OF AMERICA, N.A.                   Interest Rate 0.010                           1270-000                     0.02                                     2,049.35



                                                                                                                    Page Subtotals              2,054.39                   5.04




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                                                                                          FORM 2                                                                                              Page 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                        Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                    Bank Name: Bank of America
                                                                                                                                   Account Number/CD#: ******4259 Money Market Account
       Taxpayer ID No: **-***9612                                                                                         Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                         Separate bond (if applicable): 0.00

    1                   2                            3                                            4                                          5                     6                    7
                                                                                                                      Uniform
Transaction          Check or                                                                                          Trans.                                                       Account/ CD
   Date              [Refer#]             Paid To / Received From                  Description of Transaction          Code             Deposits($)        Disbursements($)          Balance($)
01/31/2012                        BANK OF AMERICA, N.A.                  BANK SERVICE FEE                             2600-000                                            2.69               2,046.66


02/29/2012             [INT]      BANK OF AMERICA, N.A.                  Interest Rate 0.010                          1270-000                     0.02                                      2,046.68


02/29/2012                        BANK OF AMERICA, N.A.                  BANK SERVICE FEE                             2600-000                                            2.43               2,044.25


03/30/2012             [INT]      BANK OF AMERICA, N.A.                  Interest Rate 0.010                          1270-000                     0.02                                      2,044.27


03/30/2012                        BANK OF AMERICA, N.A.                  BANK SERVICE FEE                             2600-000                                            2.51               2,041.76


04/23/2012             [23]       Prosper Inc.                           Quarterly Reserve Payment                    1229-000                   896.91                                      2,938.67


04/30/2012             [INT]      BANK OF AMERICA, N.A.                  INTEREST REC'D FROM BANK                     1270-000                     0.02                                      2,938.69


04/30/2012                        BANK OF AMERICA, N.A.                  BANK SERVICE FEE                             2600-000                                            2.78               2,935.91


05/22/2012             [20]       TransFirst                             Accounts receivable intial settleme          1129-000               90,000.00                                   92,935.91
                                                                         nt payment

05/31/2012             [INT]      BANK OF AMERICA, N.A.                  Interest Rate 0.010                          1270-000                     0.20                                  92,936.11



                                                                                                                  Page Subtotals             90,897.17                   10.41




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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                         Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                     Bank Name: Bank of America
                                                                                                                                    Account Number/CD#: ******4259 Money Market Account
       Taxpayer ID No: **-***9612                                                                                          Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                          Separate bond (if applicable): 0.00

    1                   2                            3                                            4                                           5                     6                     7
                                                                                                                       Uniform
Transaction          Check or                                                                                           Trans.                                                        Account/ CD
   Date              [Refer#]             Paid To / Received From                     Description of Transaction        Code             Deposits($)        Disbursements($)           Balance($)
05/31/2012                        BANK OF AMERICA, N.A.                   BANK SERVICE FEE                             2600-000                                            29.55           92,906.56


06/29/2012             [INT]      BANK OF AMERICA, N.A.                   Interest Rate 0.010                          1270-000                     0.76                                   92,907.32


06/29/2012                        BANK OF AMERICA, N.A.                   BANK SERVICE FEE                             2600-000                                           110.42           92,796.90


07/13/2012             [24]       Hanson v. Google Settlement Fund        Class action settlement proceeds.            1249-000                   552.92                                   93,349.82


07/13/2012             [24]       Hanson v. Google Settlement Fund        Class action settlement proceeds.            1249-000                   290.49                                   93,640.31


07/31/2012             [INT]      BANK OF AMERICA, N.A.                   Interest Rate 0.010                          1270-000                     0.79                                   93,641.10


07/31/2012                        BANK OF AMERICA, N.A.                   BANK SERVICE FEE                             2600-000                                           122.18           93,518.92


08/17/2012             [INT]      BANK OF AMERICA, N.A.                   INTEREST REC'D FROM BANK                     1270-000                     0.41                                   93,519.33


08/17/2012                        BANK OF AMERICA, N.A.                   BANK FEES                                    2600-000                                            61.32           93,458.01
                                  901 MAIN STREET
                                  10TH FLOOR
                                  DALLAS , TX 75283

08/17/2012                        Trsf To FIRST NATIONAL BANK OF VINI     FINAL TRANSFER                               9999-000                                     93,458.01                    0.00



                                                                                                                   Page Subtotals                 845.37            93,781.48



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                                                                                          FORM 2                                                                                              Page 4
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                        Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                    Bank Name: Bank of America
                                                                                                                                   Account Number/CD#: ******4259 Money Market Account
       Taxpayer ID No: **-***9612                                                                                         Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                         Separate bond (if applicable): 0.00

    1                   2                            3                                       4                                               5                     6                     7
                                                                                                                       Uniform
Transaction          Check or                                                                                           Trans.                                                       Account/ CD
   Date              [Refer#]             Paid To / Received From                Description of Transaction             Code            Deposits($)        Disbursements($)           Balance($)

                                                                                                                  Page Subtotals


                                                                                           COLUMN TOTALS                                     93,796.93             93,796.93
                                                                                                    Less:Bank Transfer/CD's                        0.00            93,458.01
                                                                                           SUBTOTALS                                         93,796.93                   338.92

                                                                                                  Less: Payments to Debtors                                                0.00
                                                                                           Net                                               93,796.93                   338.92




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                                                                                             FORM 2                                                                                                   Page 5
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                 Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                             Bank Name: FNB Vinita
                                                                                                                                            Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                  Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                  Separate bond (if applicable): 0.00

    1                   2                             3                                             4                                                 5                     6                    7
                                                                                                                                Uniform
Transaction          Check or                                                                                                    Trans.                                                      Account/ CD
   Date              [Refer#]             Paid To / Received From                     Description of Transaction                 Code            Deposits($)        Disbursements($)          Balance($)
08/17/2012                        Trsf In From BANK OF AMERICA, N.A.        INITIAL WIRE TRANSFER IN                            9999-000              93,458.01                                   93,458.01


09/24/2012                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                    2600-000                                          28.81           93,429.20


10/16/2012                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                    2600-000                                          57.61           93,371.59


10/24/2012                        Utes Real Estate Company                  Sale proceeds with Mile High Banks                                        30,000.00                                  123,371.59


                       [14]                                                                                        5,000.00     1129-000

                       [15]                                                                                       10,000.00     1129-000

                       [16]                                                                                       15,000.00     1129-000

11/06/2012            30001       Connolly, Rosania & Lofstedt, P.C.        Pay attorney                                                                                    73,301.55             50,070.04
                                  Attn: Douglas C. Pearce, II, Esq.         Order Approving First Interim Fee Application and
                                  950 Spruce Street, Suite #1C              Request for Reimbursement of Exepenses, 75% fee
                                                                            and 100% expenses, entered on 11/2/12.
                                  Louisville , CO 80027

                                                                                                                 (70,905.38)    3210-000

                                                                            EXPENSE                               (2,396.17)    3220-000

11/06/2012                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                    2600-000                                          63.19           50,006.85



                                                                                                                           Page Subtotals            123,458.01             73,451.16




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                                                                                           FORM 2                                                                                                        Page 6
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                   Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                               Bank Name: FNB Vinita
                                                                                                                                              Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                    Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                    Separate bond (if applicable): 0.00

    1                   2                              3                                          4                                                     5                     6                     7
                                                                                                                                 Uniform
Transaction          Check or                                                                                                     Trans.                                                        Account/ CD
   Date              [Refer#]              Paid To / Received From                  Description of Transaction                    Code             Deposits($)        Disbursements($)           Balance($)
12/06/2012            30002       International Sureties, Ltd.            Pay annual surety bond premium                         2300-000                                            59.89           49,946.96
                                  One Shell Square                        Bond # 016027974; Annual premium for term of
                                  701 Poydras Street, Suite 420           12/1/12 to 12/1/13
                                  New Orleans , LA 70139

12/07/2012                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                            41.38           49,905.58


01/04/2013             [25]       First Western Financial, Inc.           Preference compromise payment                          1241-000               50,000.00                                    99,905.58
                                                                          Preference compromise payment

01/04/2013              [1]       Dickensheet & Associates, Inc.          Auction proceeds on gift cards                         1129-000                2,401.00                                   102,306.58


01/08/2013                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                            31.81          102,274.77


01/10/2013            30003       DICKENSHEET & ASSOCIATES, INC.          Pay auctioneer                                                                                            401.49          101,873.28
                                  1501 W. Wesley Avenue                   Order granting authority to auction property and
                                  DENVER , CO 80223                       pay auctioneer entered on 111/16/12.


                                                                                                                   (360.15)      3610-000

                                                                          EXPENSE                                   (41.34)      3620-000

01/21/2013             [20]       TransFirst                              Collection of outstanding accounts                     1129-000              304,337.21                                   406,210.49
                                                                          receivable from credit card processing

02/07/2013                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                           201.80          406,008.69



                                                                                                                             Page Subtotals            356,738.21                   736.37



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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                   Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                               Bank Name: FNB Vinita
                                                                                                                                              Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                    Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                    Separate bond (if applicable): 0.00

    1                   2                              3                                            4                                                   5                     6                     7
                                                                                                                                  Uniform
Transaction          Check or                                                                                                      Trans.                                                       Account/ CD
   Date              [Refer#]              Paid To / Received From                    Description of Transaction                   Code            Deposits($)        Disbursements($)           Balance($)
03/07/2013                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                      2600-000                                          389.36          405,619.33


04/05/2013                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                      2600-000                                          430.70          405,188.63


05/07/2013                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                      2600-000                                          416.35          404,772.28


05/09/2013            30004       Patrick C. Giefer, C.P.A.                 Pay Forensic Accountant                                                                           42,274.79             362,497.49
                                  888 S. Josephine St.                      First Interim Fee Application and Expense
                                  Denver , CO 80209                         Reimbursement approved on 5/8/13.


                                                                                                                  (42,254.81)     3410-000

                                                                            EXPENSE                                     (19.98)   3420-000

06/07/2013                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                      2600-000                                          403.75          362,093.74


06/27/2013            30005       Connolly, Rosania & Lofstedt, P.C.        Pay attorney's fees                                                                              119,103.29             242,990.45
                                  Attn: Douglas C. Pearce, II, Esq.         2nd Interim Fee Application approved by Court on
                                  950 Spruce Street, Suite #1C              6/26/13.
                                  Louisville , CO 80027

                                                                                                                (106,705.12)      3210-000

                                                                            EXPENSE                               (12,398.17)     3220-000


                                                                                                                             Page Subtotals                   0.00           163,018.24




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                           Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                       Bank Name: FNB Vinita
                                                                                                                                      Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                            Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                            Separate bond (if applicable): 0.00

    1                   2                               3                                           4                                           5                     6                     7
                                                                                                                         Uniform
Transaction          Check or                                                                                             Trans.                                                        Account/ CD
   Date              [Refer#]             Paid To / Received From                     Description of Transaction          Code             Deposits($)        Disbursements($)           Balance($)
07/08/2013                        FIRST NATIONAL BANK OF VINITA            BANK SERVICE FEE                              2600-000                                           372.10          242,618.35


07/26/2013              [2]       First Western Trust                      Bank fund held by bank on date of f           1129-000                2,312.19                                   244,930.54
                                                                           iling

07/26/2013              [3]       First Western Trust                      Bank funds held by bank on date of            1129-000                     1.59                                  244,932.13
                                                                           filing

08/07/2013                        FIRST NATIONAL BANK OF VINITA            BANK SERVICE FEE                              2600-000                                           257.90          244,674.23


09/09/2013                        FIRST NATIONAL BANK OF VINITA            BANK SERVICE FEE                              2600-000                                           259.81          244,414.42


09/13/2013             [26]       Shoemaker Ghiselli & Schwartz LLC        Recovery of retainer for attorney f           1229-000               22,526.69                                   266,941.11
                                                                           or Debtor

10/07/2013                        FIRST NATIONAL BANK OF VINITA            BANK SERVICE FEE                              2600-000                                           262.75          266,678.36


11/07/2013                        FIRST NATIONAL BANK OF VINITA            BANK SERVICE FEE                              2600-000                                           283.17          266,395.19


12/06/2013            30006       International Sureties, Ltd.             Surety Bond                                   2300-000                                           331.67          266,063.52
                                  One Shell Square                         12-1-13 to 112-1-14 Bond Premium;Bond #
                                  701 Poydras Street, Suite 420            016027974
                                  New Orleans , LA 70139

12/06/2013                        FIRST NATIONAL BANK OF VINITA            BANK SERVICE FEE                              2600-000                                           273.75          265,789.77



                                                                                                                     Page Subtotals             24,840.47              2,041.15



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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                            Bank Name: FNB Vinita
                                                                                                                                           Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                 Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                 Separate bond (if applicable): 0.00

    1                   2                             3                                         4                                                    5                     6                     7
                                                                                                                              Uniform
Transaction          Check or                                                                                                  Trans.                                                        Account/ CD
   Date              [Refer#]             Paid To / Received From                  Description of Transaction                  Code             Deposits($)        Disbursements($)           Balance($)
01/08/2014            30007       Patrick C. Giefer                      Pay Forensic Accountant                              3410-000                                     76,378.75             189,411.02
                                  204 Saratoga Vein Court                2nd Interim Fee Application approved on 1/6/14
                                  Castle Pines , CO 80108

01/08/2014                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                     2600-000                                           282.41          189,128.61


01/29/2014             [27]       Gokare Settlement Administrator        Class Action Settlement Proceeds                     1249-000                   379.74                                  189,508.35
                                                                         Class Action Settlement Proceeds

02/07/2014                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                     2600-000                                           232.27          189,276.08


02/11/2014             [28]       Newton Media Associates, Inc.          Preference Settlement payment                        1241-000                4,500.00                                   193,776.08


02/18/2014             [29]       Denver Security Services, LLC          Compromise of Preference Recovery                    1241-000                2,100.00                                   195,876.08


02/19/2014             [30]       Robert Day                             Compromise payment on Preference Re                  1241-000                   250.00                                  196,126.08
                                                                         covery

02/26/2014             [31]       The Hays Group, Inc.                   Preference recovery.                                 1241-000                3,250.00                                   199,376.08


03/05/2014             [32]       Bialson, Bergen & Schwab               Preference Recovery settlement-Cisc                  1241-000                5,000.00                                   204,376.08


03/07/2014                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                     2600-000                                           185.18          204,190.90



                                                                                                                          Page Subtotals             15,479.74             77,078.61




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                                                                                             FORM 2                                                                                                      Page 10
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                    Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                                Bank Name: FNB Vinita
                                                                                                                                               Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                     Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                     Separate bond (if applicable): 0.00

    1                   2                             3                                            4                                                     5                     6                     7
                                                                                                                                  Uniform
Transaction          Check or                                                                                                      Trans.                                                        Account/ CD
   Date              [Refer#]             Paid To / Received From                     Description of Transaction                   Code             Deposits($)        Disbursements($)           Balance($)
03/25/2014             [30]       Robert W. Day III                         Preference recovery compromise paym                   1241-000                   250.00                                  204,440.90
                                                                            ent

04/07/2014                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                      2600-000                                           216.01          204,224.89


04/08/2014            30008       Connolly, Rosania & Lofstedt, P.C.        Pay attorney                                                                                      105,247.84              98,977.05
                                  Attn: Douglas C. Pearce, II, Esq.         3rd Interim Fee Application approved on 4/7/14.
                                  950 Spruce Street, Suite #1C
                                  Louisville , CO 80027

                                                                                                                (99,943.00)       3210-000

                                                                            EXPENSE                               (5,304.84)      3220-000

04/15/2014             [34]       Pfinix Creative Group                     Preference recovery                                   1241-000                1,500.00                                   100,477.05


04/15/2014             [33]       Farella Braun = Martel LLP                Preference recovery                                   1241-000              160,000.00                                   260,477.05


04/18/2014             [35]       Havas Edge                                Preference Recovery                                   1241-000               11,000.00                                   271,477.05


04/22/2014             [30]       Robert Day                                Preference recovery                                   1241-000                   250.00                                  271,727.05


05/07/2014                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                      2600-000                                           220.97          271,506.08



                                                                                                                              Page Subtotals            173,000.00            105,684.82




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                                                                                            FORM 2                                                                                                    Page 11
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                 Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                             Bank Name: FNB Vinita
                                                                                                                                            Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                  Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                  Separate bond (if applicable): 0.00

    1                   2                             3                                            4                                                  5                     6                     7
                                                                                                                               Uniform
Transaction          Check or                                                                                                   Trans.                                                        Account/ CD
   Date              [Refer#]               Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
05/09/2014             [36]       JPMorgan Chase                           Preference recovery                                 1241-000                2,750.00                                   274,256.08


05/21/2014             [30]       Robert W. Day III                        Compromise on preference recovery p                 1241-000                   250.00                                  274,506.08
                                                                           ayment

06/03/2014             [37]       Liveops                                  Preference recovery                                 1241-000               10,000.00                                   284,506.08


06/06/2014                        FIRST NATIONAL BANK OF VINITA            BANK SERVICE FEE                                    2600-000                                           290.26          284,215.82


06/17/2014             [38]       Moye White LLP                           Prefrence recovery compromise                       1241-000                7,500.00                                   291,715.82


06/24/2014             [30]       Robert W. Day III                        Preference recovery compromise paym                 1241-000                   250.00                                  291,965.82
                                                                           ent

06/24/2014             [39]       The Cross Agency                         Preference recovery compromise                      1241-000               10,000.00                                   301,965.82


07/01/2014            30009       Patrick C. Giefer                        Pay forensic Accountant                                                                          55,739.57             246,226.25
                                  204 Saratoga Vein Court                  3rd Interim Fee Application approved by the Court
                                  Castle Pines , CO 80108                  on 6/27/2014.


                                                                                                                (55,716.25)    3410-000

                                                                           EXPENSE                                   (23.32)   3420-000


                                                                                                                           Page Subtotals             30,750.00             56,029.83




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                                                                                           FORM 2                                                                                                  Page 12
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                              Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                          Bank Name: FNB Vinita
                                                                                                                                         Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                               Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                               Separate bond (if applicable): 0.00

    1                   2                               3                                        4                                                 5                     6                     7
                                                                                                                            Uniform
Transaction          Check or                                                                                                Trans.                                                        Account/ CD
   Date              [Refer#]              Paid To / Received From                  Description of Transaction               Code             Deposits($)         Disbursements($)          Balance($)
07/08/2014                        First National Bank of Vinita           BANK SERVICE FEE                                  2600-000                                           296.21          245,930.04


07/15/2014             [40]       American Express Travel Related         Preference Compromise Recovery                    1241-000                7,500.00                                   253,430.04


07/23/2014             [30]       Robert W. Day III                       Preference recovery compromise                    1241-000                    250.00                                 253,680.04


08/07/2014                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                  2600-000                                           276.79          253,403.25


*08/20/2014                       Robert W. Day III                       Preference recovery                               1241-000                    250.00                                 253,653.25


09/08/2014                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                  2600-000                                           269.08          253,384.17


09/30/2014             [30]       Prime Time Pictures                     Replacement check for Check #2793 f               1241-000                    250.00                                 253,634.17
                                                                          rom Robert W. Day III.

09/30/2014             [30]       Prime Time Pictures                     Compromise payment with Robert Day                1241-000                    250.00                                 253,884.17


*09/30/2014                       Reverses Deposit # 27                   Preference recovery                               1241-000                   (250.00)                                253,634.17
                                                                          Check stolen from UPS pickup box. Replaced with
                                                                          Check #1562 Prime Time Pictures dated 9/19/14,
                                                                          received 9/30/14.

10/07/2014                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                  2600-000                                           260.15          253,374.02



                                                                                                                        Page Subtotals              8,250.00              1,102.23



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                 Case No: 11-32445                                                                                                                 Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                             Bank Name: FNB Vinita
                                                                                                                                            Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                  Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                  Separate bond (if applicable): 0.00

    1                   2                               3                                          4                                                  5                     6                     7
                                                                                                                                Uniform
Transaction          Check or                                                                                                    Trans.                                                       Account/ CD
   Date              [Refer#]             Paid To / Received From                     Description of Transaction                 Code            Deposits($)        Disbursements($)           Balance($)
10/13/2014            30010       Connolly, Rosania & Lofstedt, P.C.        Pay attorney                                                                                    89,478.44             163,895.58
                                  Attn: Douglas C. Pearce, II, Esq.         4th Interim Fee Application approved on 10/10/14.
                                  950 Spruce Street, Suite #1C
                                  Louisville , CO 80027

                                                                                                                (80,793.50)     3210-000

                                                                            EXPENSE                               (8,684.94)    3220-000

10/28/2014             [30]       Prime Time Pictures                       Compromise payment/recovery of pref                 1241-000                  250.00                                  164,145.58
                                                                            erence

10/31/2014             [46]       Whipplewood CPAS PC                       Preference compromise payment                       1241-000               1,000.00                                   165,145.58


11/07/2014                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                    2600-000                                          223.15          164,922.43


11/26/2014             [30]       Prime Time Pictures                       Preference recovery                                 1241-000                  250.00                                  165,172.43


12/04/2014            30011       International Sureties, Ltd.              Blanket Surety Bond Premium 2014-15                 2300-000                                          191.62          164,980.81
                                  701 Poydras Street, Suite 420             Bond # 016027974;Term: 12/1/14 to 12/1/15
                                  New Orleans , LA 70139

12/05/2014                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                    2600-000                                          169.53          164,811.28


12/29/2014             [30]       Prime Time Pictures                       Preference recovery compromise paym                 1241-000                  250.00                                  165,061.28
                                                                            ent


                                                                                                                           Page Subtotals              1,750.00             90,062.74




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                                                                                          FORM 2                                                                                                    Page 14
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                               Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                           Bank Name: FNB Vinita
                                                                                                                                          Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                Separate bond (if applicable): 0.00

    1                   2                               3                                        4                                                  5                     6                     7
                                                                                                                             Uniform
Transaction          Check or                                                                                                 Trans.                                                        Account/ CD
   Date              [Refer#]             Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
01/06/2015             [46]       Whipplewood CPAS PC                    Preference compromise payment                       1241-000                1,000.00                                   166,061.28


01/08/2015                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                    2600-000                                           175.06          165,886.22


01/27/2015            30012       Patrick C. Giefer                      Forensic Accounting fees                                                                         76,833.75              89,052.47
                                  204 Saratoga Vein Court                4th Interim Fee application approved by the Court
                                  Castle Pines , CO 80108                on 1/14/15.


                                                                                                              (76,813.75)    3410-000

                                                                         EXPENSE                                   (20.00)   3420-000

02/04/2015             [46]       Whipplewood CPAS PC                    Compromise payment                                  1241-000                1,000.00                                    90,052.47


02/04/2015             [30]       Prime Time Pictures                    Final compromise payment                            1241-000                   250.00                                   90,302.47


02/06/2015                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                    2600-000                                           175.98           90,126.49


03/03/2015             [46]       WHIPPLEWOOD CPAS PC                    Compromise preference recovery paym                 1241-000                1,000.00                                    91,126.49
                                                                         ent

03/06/2015                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                    2600-000                                            88.96           91,037.53



                                                                                                                         Page Subtotals              3,250.00             77,273.75




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                                                                                          FORM 2                                                                                                         Page 15
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                   Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                               Bank Name: FNB Vinita
                                                                                                                                              Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                     Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                     Separate bond (if applicable): 0.00

    1                   2                            3                                             4                                                    5                      6                     7
                                                                                                                                   Uniform
Transaction          Check or                                                                                                       Trans.                                                       Account/ CD
   Date              [Refer#]             Paid To / Received From                   Description of Transaction                      Code           Deposits($)         Disbursements($)           Balance($)
04/07/2015                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                          2600-000                                           96.60           90,940.93


05/07/2015                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                          2600-000                                           93.45           90,847.48


06/02/2015             [46]       Whipplewood CPAS PC                    Preference compromise payment                             1241-000               1,000.00                                    91,847.48


06/05/2015                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                          2600-000                                           96.47           91,751.01


06/10/2015             [47]       Marilena Dalbey                        1st payment on Preference/Fraudlent                       1241-000             50,000.00                                    141,751.01
                                                                         Transfer compromise

06/19/2015             [46]       whipplewood CPAS PC                    preference Compromise payment                             1241-000             20,000.00                                    161,751.01


06/25/2015                        IPME, LLLP                             Transfer of funds due to case cons                                            223,850.00                                    385,601.01
                                                                         Related Case: DALBEY EDUCATION INSTITUTE, LLC,
                                                                         Case No. 11-32445-SSB and DEI, LLLP Case No. 11-
                                                                         32446-SBB. On 6/19/15 Dalbey Education
                                                                         Institute, LLC, DEI, LLLP and IPME, LLP were
                                                                         Substantively Consolidated, with Dalbey Education
                                                                         Institute, LLC as the lead case. This transfer of funds
                                                                         from IPME, LLP to Dalbey Education Institute, LLC
                                                                         was made as a result of the 6/19/15 Substantive
                                                                         Consolidation order.
                                                                         IPME, LLLP. - Macromark
                       [59]                                                                                             25.00      1221-000
                                                                         account receivable - B#15

                                                                                                                             Page Subtotals            294,850.00                    286.52




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                                                                                          FORM 2                                                                                               Page 16
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                            Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                        Bank Name: FNB Vinita
                                                                                                                                       Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                             Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                             Separate bond (if applicable): 0.00

    1                   2                            3                                           4                                               5                     6                   7
                                                                                                                           Uniform
Transaction          Check or                                                                                               Trans.                                                     Account/ CD
   Date              [Refer#]             Paid To / Received From                  Description of Transaction               Code            Deposits($)        Disbursements($)         Balance($)
                                                                          IPME, LLLP. - Royalties
                       [57]                                                                                 229,949.50     1223-000
                                                                         received fromm Gooman Gr
                                                                          IPME, LLLP. - IPME Operating
                       [52]                                                                                       46.69    1229-000
                                                                         Ban Acct. #2156
                                                                          IPME, LLLP. - Preference
                       [58]                                                                                     3,000.00   1241-000
                                                                         recovery-Macromark
                                                                          IPME, LLLP. - Preference
                       [60]                                                                                     4,750.00   1241-000
                                                                         compromise - JJS&A
                                                                          IPME, LLLP. - Preference
                       [61]                                                                                     6,000.00   1241-000
                                                                         recovery - DM360
                                                                          IPME, LLLP. - Preference
                       [62]                                                                                     1,500.00   1241-000
                                                                         recovery - XL Marketing
                                                                          IPME, LLLP. - Preference
                       [63]                                                                                     1,000.00   1241-000
                                                                         recovery - Albert Moore
                                                                          IPME, LLLP. - IPME Post-
                       [73]                                                                                        0.52    1270-000
                                                                         Petition
                                                                         IPME, LLLP. - Trustee Fees          (2,551.58)    2100-000
                                                                          IPME, LLLP. - Trustee
                                                                                                                (153.28)   2200-000
                                                                         Expenses
                                                                          International Sureties,
                                                                         Ltd.One Shell Square701
                                                                         Poydras Street, Suite                  (517.61)   2300-000
                                                                         420New Orleans, LA 70139 -
                                                                         Bond Premium
                                                                          IPME, LLLP. - Bank Service
                                                                                                                 (77.85)   2600-000
                                                                         fees
                                                                          Connolly Lofstedt Cadette &
                                                                         Pearce, PCAttn: Douglas C.
                                                                         Pearce, Esq.950 Spruce St.,        (16,742.00)    3210-000
                                                                         Suite #1CLouisville, CO 80027
                                                                         - Attorney's fees

                                                                                                                      Page Subtotals            223,850.00                   0.00



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                 Case No: 11-32445                                                                                                                     Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                                 Bank Name: FNB Vinita
                                                                                                                                                Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                      Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                      Separate bond (if applicable): 0.00

    1                   2                              3                                            4                                                     5                     6                     7
                                                                                                                                   Uniform
Transaction          Check or                                                                                                       Trans.                                                        Account/ CD
   Date              [Refer#]              Paid To / Received From                    Description of Transaction                    Code             Deposits($)        Disbursements($)           Balance($)
                                                                             Connolly Lofstedt Cadette &
                                                                            Pearce, PCAttn: Douglas C.
                                                                            Pearce, Esq.950 Spruce St.,               (678.39)     3220-000
                                                                            Suite #1CLouisville, CO 80027
                                                                            - Pay attorney expnses
                                                                             Tryfon Hristopoulos,
                                                                            C.P.A.Hristopoulos &
                                                                            Company, P. C.8480 E.
                                                                                                                     (1,701.00)    3410-000
                                                                            Orchard Road, Suite
                                                                            3150Greenwood Village, CO
                                                                            80111 - Pay accountant

06/26/2015            30013       Patrick C. Giefer                         Pay Forensic Accountant                                3410-000                                     32,552.50             353,048.51
                                  204 Saratoga Vein Court                   5th Interim Fee Application approved by Court on
                                  Castle Pines , CO 80108                   6/18/15.



06/26/2015            30014       Connolly, Rosania & Lofstedt, P.C.        Pay attorney fees & expenses                                                                       100,159.80             252,888.71
                                  Attn: Douglas C. Pearce, II, Esq.         5th Interim Fee Application & Expense
                                  950 Spruce Street, Suite #1C              Reimbursment approved on 6/16/15.
                                  Louisville , CO 80027

                                                                                                                    (84,717.50)    3210-000

                                                                            EXPENSE                                 (15,442.30)    3220-000

07/07/2015                        First National Bank of Vinita             BANK SERVICE FEE                                       2600-000                                           177.56          252,711.15


07/21/2015             [47]       Marilene Dalbey                           Compromise payment                                     1241-000              100,000.00                                   352,711.15



                                                                                                                               Page Subtotals            323,850.00            132,889.86




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                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                              Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                          Bank Name: FNB Vinita
                                                                                                                                         Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                               Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                               Separate bond (if applicable): 0.00

    1                   2                            3                                          4                                                  5                     6                     7
                                                                                                                             Uniform
Transaction          Check or                                                                                                 Trans.                                                       Account/ CD
   Date              [Refer#]             Paid To / Received From                  Description of Transaction                 Code            Deposits($)        Disbursements($)           Balance($)
07/21/2015            30015       DENNIS W. KING, P. C.                  Trustee Interim Compensation & Expe                                                             36,504.14             316,207.01
                                  P. O. Box 460609                       Court Order entered 7/20/15
                                  Aurora , CO 80046-0609

                                                                                                               (35,605.21)   2100-000

                                                                         EXPENSE                                 (898.93)    2200-000

08/07/2015                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                    2600-000                                          295.73          315,911.28


09/08/2015                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                    2600-000                                          335.45          315,575.83


10/07/2015                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                    2600-000                                          324.30          315,251.53


10/23/2015            30016       DICKENSHEET & ASSOCIATES, INC.         Storage charges 7/15-9-15                           2420-000                                     1,900.00             313,351.53
                                  1501 W. Wesley Avenue
                                  DENVER , CO 80223

11/06/2015                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                    2600-000                                          334.43          313,017.10


11/23/2015            30017       International Sureties, Ltd.           2015 Surety Bond Premium                            2300-000                                          205.04          312,812.06
                                  One Shell Square
                                  701 Poydras Street, Suite 420
                                  New Orleans , LA 70139

                                                                                                                        Page Subtotals                   0.00            39,899.09




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                  Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                              Bank Name: FNB Vinita
                                                                                                                                             Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                   Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                   Separate bond (if applicable): 0.00

    1                   2                             3                                             4                                                  5                     6                     7
                                                                                                                                 Uniform
Transaction          Check or                                                                                                     Trans.                                                       Account/ CD
   Date              [Refer#]             Paid To / Received From                     Description of Transaction                  Code            Deposits($)        Disbursements($)           Balance($)
12/07/2015                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                     2600-000                                          321.65          312,490.41


12/11/2015            30018       Connolly, Rosania & Lofstedt, P.C.        Pay Attorney                                                                                     74,750.79             237,739.62
                                  Attn: Douglas C. Pearce, II, Esq.         6th Interim Fee Application, approved by the Court
                                  950 Spruce Street, Suite #1C              on 12/10/15.
                                  Louisville , CO 80027

                                                                                                                 (64,007.50)     3210-000

                                                                                                                 (10,743.29)     3220-000

01/05/2016            30019       DICKENSHEET & ASSOCIATES, INC.            Storage costs 10/15, 11/15 and 12/1                  2420-000                                          900.00          236,839.62
                                  1501 W. Wesley Avenue                     Court Order authorizing payment entered 7/22/14.
                                  DENVER , CO 80223

01/08/2016                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                     2600-000                                          285.74          236,553.88


02/05/2016                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                     2600-000                                          251.51          236,302.37


03/07/2016                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                     2600-000                                          234.72          236,067.65


03/29/2016            30020       DICKENSHEET & ASSOCIATES, INC.            Document storage                                     2420-000                                          900.00          235,167.65
                                  1501 W. Wesley Avenue                     January, February and March 2016.
                                  DENVER , CO 80223

                                                                                                                            Page Subtotals                   0.00            77,644.41




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                                                                                           FORM 2                                                                                                        Page 20
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                    Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                                Bank Name: FNB Vinita
                                                                                                                                               Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                     Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                     Separate bond (if applicable): 0.00

    1                   2                               3                                          4                                                     5                     6                     7
                                                                                                                                  Uniform
Transaction          Check or                                                                                                      Trans.                                                        Account/ CD
   Date              [Refer#]             Paid To / Received From                    Description of Transaction                    Code             Deposits($)        Disbursements($)           Balance($)
04/07/2016                        FIRST NATIONAL BANK OF VINITA            BANK SERVICE FEE                                       2600-000                                           250.67          234,916.98


04/14/2016            30021       Patrick C. Giefer                        Pay foreinsic accountant                                                                            40,149.91             194,767.07
                                  950 S. Josephine St                      6th Interim Fee Application approved by Court on
                                  Denver , CO 80209                        4/12/16


                                                                                                                (39,621.25)       3410-000

                                                                           EXPENSE                                 (528.66)       3420-000

05/06/2016                        FIRST NATIONAL BANK OF VINITA            BANK SERVICE FEE                                       2600-000                                           227.78          194,539.29


06/07/2016                        FIRST NATIONAL BANK OF VINITA            BANK SERVICE FEE                                       2600-000                                           206.57          194,332.72


06/20/2016            30022       Connolly Lofstedt Cadette & Pearce, PC   Pay attorneys fees and expenses                                                                     37,582.13             156,750.59
                                  Attn: Douglas C. Pearce, Esq.            7th Interim Fee Application approved on 6/17/16.
                                  950 Spruce St., Suite #1C
                                  Louisville , CO 80027

                                                                                                                (34,092.00)       3210-000

                                                                           EXPENSE                               (3,490.13)       3220-000

07/08/2016                        FIRST NATIONAL BANK OF VINITA            BANK SERVICE FEE                                       2600-000                                           189.40          156,561.19



                                                                                                                              Page Subtotals                   0.00            78,606.46




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                                                                                             FORM 2                                                                                                    Page 21
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                  Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                              Bank Name: FNB Vinita
                                                                                                                                             Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                   Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                   Separate bond (if applicable): 0.00

    1                   2                            3                                              4                                                  5                     6                     7
                                                                                                                                 Uniform
Transaction          Check or                                                                                                     Trans.                                                       Account/ CD
   Date              [Refer#]             Paid To / Received From                     Description of Transaction                  Code            Deposits($)        Disbursements($)           Balance($)
07/11/2016             [47]       FIDELITY NATIONAL TITLE COMPANY           Proceeds and loan payoff                             1241-000             300,000.00                                   456,561.19
                                  Re: Marilena Dalbey
                                  3760 Kilroy Airport Way, Suite 110
                                  Long Beach , CA 90806

08/05/2016                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                     2600-000                                          382.01          456,179.18


08/26/2016            30023       DICKENSHEET & ASSOCIATES, INC.            Storage charge payment                               2420-000                                          900.00          455,279.18
                                  1501 W. Wesley Avenue                     Payment for storage for April, May, and June 2016.
                                  DENVER , CO 80223

09/08/2016                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                     2600-000                                          484.35          454,794.83


10/07/2016                        FIRST NATIONAL BANK OF VINITA             BANK SERVICE FEE                                     2600-000                                          467.53          454,327.30


11/03/2016            30024       Tryfon Hristopoulos, C.P.A.               Pay CPA                                              3410-000                                     5,277.00             449,050.30
                                  Hristopoulos & Company, P. C.             Second Interim Fee Appliication approved by Court
                                  8480 E. Orchard Road, Suite 3150          on 11/3/16.
                                  Greenwood Village , CO 80111

11/03/2016            30025       DENNIS W. KING, P. C.                     Pay Trustee Interim fee and expense                                                               9,236.47             439,813.83
                                  P. O. Box 460609                          Second Interim Application for Compensation and
                                  Aurora , CO 80046-0609                    Expenses approved by the Court on 11/3/16.


                                                                                                                   (8,705.44)    2100-000

                                                                                                                     (531.03)    2200-000

                                                                                                                            Page Subtotals            300,000.00             16,747.36



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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                  Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                              Bank Name: FNB Vinita
                                                                                                                                             Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                   Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                   Separate bond (if applicable): 0.00

    1                   2                            3                                            4                                                    5                     6                     7
                                                                                                                                Uniform
Transaction          Check or                                                                                                    Trans.                                                        Account/ CD
   Date              [Refer#]             Paid To / Received From                   Description of Transaction                   Code             Deposits($)        Disbursements($)           Balance($)
11/07/2016                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                      2600-000                                           482.43          439,331.40


12/07/2016                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                      2600-000                                           454.04          438,877.36


12/15/2016            30026       International Sureties, Ltd.            Surety Bond Preimum payment                           2300-000                                           210.17          438,667.19
                                  One Shell Square                        Liberty Mutual Insurance Company;Bond #
                                  701 Poydras Street, Suite 420           016027974
                                  New Orleans , LA 70139

01/09/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                      2600-000                                           465.95          438,201.24


01/30/2017             [57]       Blue Diamond Capital Corporation        sale of Royalty rights/Goodman Grou                   1223-000               25,664.27                                   463,865.51


02/07/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                      2600-000                                           466.22          463,399.29


02/22/2017             [57]       The Goodman Group                       Royalty income                                        1223-000                   240.60                                  463,639.89
                                                                          le

03/01/2017            30027       DICKENSHEET & ASSOCIATES, INC.          Pay storage fee                                       2420-000                                           900.00          462,739.89
                                  1501 W. Wesley Avenue                   Storage fee paid for October - December storage
                                  DENVER , CO 80223

03/07/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                      2600-000                                           444.51          462,295.38



                                                                                                                            Page Subtotals             25,904.87              3,423.32




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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                   Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                               Bank Name: FNB Vinita
                                                                                                                                              Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                    Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                    Separate bond (if applicable): 0.00

    1                   2                            3                                            4                                                     5                     6                     7
                                                                                                                                 Uniform
Transaction          Check or                                                                                                     Trans.                                                        Account/ CD
   Date              [Refer#]             Paid To / Received From                   Description of Transaction                    Code             Deposits($)        Disbursements($)           Balance($)
03/10/2017            30028       Tryfon Hristopoulos, C.P.A.             Pay accountant                                         3410-000                                           729.75          461,565.63
                                  Hristopoulos & Company, P. C.           3rd Interim Fee Application approved by Court on
                                  8480 E. Orchard Road, Suite 3150        3/8/17.
                                  Greenwood Village , CO 80111

04/07/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                           490.68          461,074.95


04/11/2017            30029       DICKENSHEET & ASSOCIATES, INC.          Pay for storage of documents                           2420-000                                           900.00          460,174.95
                                  1501 W. Wesley Avenue                   Order authorizing ongoing costs of storage of
                                  DENVER , CO 80223                       records entered on 7/22/15.



05/05/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                           473.38          459,701.57


06/07/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                           488.10          459,213.47


07/10/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                           471.89          458,741.58


07/21/2017            30030       DICKENSHEET & ASSOCIATES, INC.          Storage Monthly Payment                                2420-000                                           900.00          457,841.58
                                  1501 W. Wesley Avenue                   Order authorizing ongoing costs of storage of
                                  DENVER , CO 80223                       records entered on 7/22/15.



08/07/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                           486.98          457,354.60



                                                                                                                             Page Subtotals                   0.00             4,940.78




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                                                                                           FORM 2                                                                                                    Page 24
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                            Bank Name: FNB Vinita
                                                                                                                                           Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                 Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                 Separate bond (if applicable): 0.00

    1                   2                               3                                         4                                                  5                     6                     7
                                                                                                                              Uniform
Transaction          Check or                                                                                                  Trans.                                                        Account/ CD
   Date              [Refer#]              Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
08/23/2017            30031       Connolly & Lofstedt PC                  Pay Attorney                                                                                     15,101.45             442,253.15
                                  Attn: Joli A. Lofstedt, Esq.            8th Interim Fee Application approved 8/21/17.
                                  950 Spruce St., Suite #1C
                                  Louisville , CO 80027

                                                                                                               (13,191.00)    3210-000

                                                                          EXPENSE                               (1,910.45)    3220-000

09/08/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                    2600-000                                           483.58          441,769.57


10/06/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                    2600-000                                           453.99          441,315.58


10/09/2017            30032       DICKENSHEET & ASSOCIATES, INC.          Quarterly document storage fees                     2420-000                                           900.00          440,415.58
                                  1501 W. Wesley Avenue                   quarterly Document Storage fees previously
                                  DENVER , CO 80223                       approved by the Court



11/07/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                    2600-000                                           468.01          439,947.57


11/27/2017            30033       DICKENSHEET & ASSOCIATES, INC.          Pay for storage unit                                2420-000                                      1,800.00             438,147.57
                                  1501 W. Wesley Avenue                   Storage invoice from October 17-March 2018, Order
                                  DENVER , CO 80223                       entered by Court authorizing disbursement on
                                                                          7/22/2015



                                                                                                                          Page Subtotals                   0.00            19,207.03




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                                                                                           FORM 2                                                                                                       Page 25
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                   Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                               Bank Name: FNB Vinita
                                                                                                                                              Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                                    Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                    Separate bond (if applicable): 0.00

    1                   2                               3                                         4                                                     5                     6                     7
                                                                                                                                 Uniform
Transaction          Check or                                                                                                     Trans.                                                        Account/ CD
   Date              [Refer#]              Paid To / Received From                  Description of Transaction                    Code             Deposits($)        Disbursements($)           Balance($)
12/01/2017            30034       International Sureties, Ltd.            Blanket Bond Premium allocation                        2300-000                                           157.55          437,990.02
                                  One Shell Square
                                  701 Poydras Street, Suite 420
                                  New Orleans , LA 70139

12/07/2017                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                           452.10          437,537.92


01/08/2018                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                           465.24          437,072.68


02/07/2018                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                           464.13          436,608.55


03/07/2018                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                           418.76          436,189.79


03/28/2018            30035       Tryfon Hristopoulos, C.P.A.             Pay Accountant                                         3410-000                                      1,132.00             435,057.79
                                  Hristopoulos & Company, P. C.           4th Interim Fee application approved by Court on
                                  8480 E. Orchard Road, Suite 3150        3/23/18.
                                  Greenwood Village , CO 80111

04/06/2018                        FIRST NATIONAL BANK OF VINITA           BANK SERVICE FEE                                       2600-000                                           463.16          434,594.63


04/11/2018            30036       Connolly & Lofstedt PC                  Pay attorneys                                                                                        7,831.04             426,763.59
                                  Attn: Joli A. Lofstedt, Esq.            Final Fee Appliation approved by Court 4/9/2017
                                  950 Spruce St., Suite #1C
                                  Louisville , CO 80027

                                                                                                                             Page Subtotals                   0.00             3,552.94




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                                                                                          FORM 2                                                                                                 Page 26
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                            Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                        Bank Name: FNB Vinita
                                                                                                                                       Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                             Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                             Separate bond (if applicable): 0.00

    1                   2                             3                                          4                                               5                     6                     7
                                                                                                                           Uniform
Transaction          Check or                                                                                               Trans.                                                       Account/ CD
   Date              [Refer#]             Paid To / Received From                  Description of Transaction               Code            Deposits($)        Disbursements($)           Balance($)
                                                                                                              (6,663.50)   3210-000

                                                                         EXPENSE                              (1,167.54)   3220-000

05/07/2018                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                  2600-000                                          441.87          426,321.72


06/07/2018                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                  2600-000                                          452.69          425,869.03


07/09/2018                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                  2600-000                                          437.63          425,431.40


08/07/2018                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                  2600-000                                          451.78          424,979.62


09/10/2018                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                  2600-000                                          451.27          424,528.35


10/05/2018                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                  2600-000                                          436.30          424,092.05


11/07/2018                        FIRST NATIONAL BANK OF VINITA          BANK SERVICE FEE                                  2600-000                                          450.29          423,641.76


12/07/2018                        FNB Vinita                             Bank Service Fee                                  2600-000                                          435.34          423,206.42


12/13/2018                        Transfer to Texas Capital Bank         Transfer to Texas Capital Bank                    9999-000                                   423,206.42                    0.00


                                                                                                                      Page Subtotals                   0.00           434,594.63




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                                                                                          FORM 2                                                                                           Page 27
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                        Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                    Bank Name: FNB Vinita
                                                                                                                                   Account Number/CD#: ******2067 Checking Account
       Taxpayer ID No: **-***9612                                                                                         Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                         Separate bond (if applicable): 0.00

    1                   2                            3                                       4                                               5                     6                   7
                                                                                                                       Uniform
Transaction          Check or                                                                                           Trans.                                                     Account/ CD
   Date              [Refer#]             Paid To / Received From                Description of Transaction             Code            Deposits($)        Disbursements($)         Balance($)

                                                                                                                  Page Subtotals


                                                                                           COLUMN TOTALS                                  1,458,271.30          1,458,271.30
                                                                                                    Less:Bank Transfer/CD's                  93,458.01            423,206.42
                                                                                           SUBTOTALS                                      1,364,813.29          1,035,064.88

                                                                                                  Less: Payments to Debtors                                              0.00
                                                                                           Net                                            1,364,813.29          1,035,064.88




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                                                                                             FORM 2                                                                                                    Page 28
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                  Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                              Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******8980 Checking Account
       Taxpayer ID No: **-***9612                                                                                                   Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                   Separate bond (if applicable): 0.00

    1                   2                             3                                                4                                               5                     6                     7
                                                                                                                                 Uniform
Transaction          Check or                                                                                                     Trans.                                                       Account/ CD
   Date              [Refer#]             Paid To / Received From                       Description of Transaction                Code            Deposits($)        Disbursements($)           Balance($)
12/13/2018                        Transfer from First National Bank Vinita   Transfer from First National Bank Vinita            9999-000             423,206.42                                   423,206.42


01/03/2019            30001       Internatiol Sureties, LTD                  Bond Premium - Bond # 016027974                     2300-000                                          156.98          423,049.44
                                  701 Poydras St., Suite 420
                                   New Orleans, LA 70139

01/14/2019            30002       DICKENSHEET & ASSOCIATES, INC.               Cost for destruction offiles                      2420-000                                     5,442.44             417,607.00
                                  1501 W. Wesley Avenue
                                  DENVER , CO 80223

04/16/2019            30003       Clerk of the Court                         Remitted to Court                                                                                       4.59          417,602.41
                                  Clerk of the U.S. Bankruptcy Court
                                  721 19th Street
                                  Denver, CO 80202

                                                                                                                        (3.01)   7100-001

                                                                                                                        (0.51)   7100-001

                                                                                                                        (1.07)   7100-001

04/16/2019            30004       Dennis W. King                                                                                 2100-000                                    20,818.73             396,783.68
                                  P. O. Box 460609
                                  Aurora, CO 80046

04/16/2019            30005       Dennis W. King                                                                                 2200-000                                     2,073.90             394,709.78
                                  P. O. Box 460609
                                  Aurora, CO 80046

                                                                                                                            Page Subtotals            423,206.42             28,496.64




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                                                                                              FORM 2                                                                                                      Page 29
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                                      Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                                  Bank Name: Texas Capital Bank
                                                                                                                                                 Account Number/CD#: ******8980 Checking Account
       Taxpayer ID No: **-***9612                                                                                                       Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                                       Separate bond (if applicable): 0.00

    1                   2                            3                                                4                                                    5                     6                    7
                                                                                                                                    Uniform
Transaction          Check or                                                                                                        Trans.                                                       Account/ CD
   Date              [Refer#]             Paid To / Received From                       Description of Transaction                   Code             Deposits($)        Disbursements($)          Balance($)
04/16/2019            30006       United States Bankruptcy Court             Adversary Court filing fees for Dalbey                 2700-000                                      7,911.00            386,798.78
                                  721 19th Street
                                  Denver, CO 80202

04/16/2019            30007       United States Bankruptcy Court             Adversary filing fees for IPME pre-consolidation       2700-000                                      2,637.00            384,161.78
                                  721 19th Street
                                  Denver, CO 80202

04/16/2019            30008       FRANCHISE TAX BOARD (California)           Disb of 100.00% to Claim #DEI001PRI                    5800-000                                     28,936.21            355,225.57
                                  PO BOX 2952
                                  BANKRUPTCY SECTION MS A340
                                  SACRAMENTO , CA 95812-2952

04/16/2019            30009       COLO DEPARTMENT OF REVENUE                 Disb of 100.00% to Claim #DALB237PRI                   5800-000                                      5,391.00            349,834.57
                                  1375 Sherman, Room 504
                                  ATTN: BANKRUPTCY UNIT
                                  Denver , CO 80261

04/16/2019            30010       SNELL & WILMER L.L.P.                      Disb of 0.11% to Claim #IPME001                        7100-000                                           16.90          349,817.67
                                  Attn: Holly R. Shilliday
                                  1200 Seventeenth Street, 19th Floor
                                  Denver , CO 80202

04/16/2019            30011       FEDERAL TRADE COMMISSION                   Disb of 0.11% to Claim #IPME002                        7100-000                                    348,821.30                 996.37
                                  Katherine Johnson, Div of Enforcement
                                  600 Pennsylvania Avenue, NW
                                  Mailstop M-8102B
                                  Washington , DC 20580

                                                                                                                                Page Subtotals                   0.00           393,713.41




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                                                                                             FORM 2                                                                                           Page 30
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                         Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******8980 Checking Account
       Taxpayer ID No: **-***9612                                                                                          Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                          Separate bond (if applicable): 0.00

    1                   2                            3                                             4                                          5                     6                     7
                                                                                                                       Uniform
Transaction          Check or                                                                                           Trans.                                                        Account/ CD
   Date              [Refer#]             Paid To / Received From                     Description of Transaction        Code             Deposits($)        Disbursements($)           Balance($)
04/16/2019            30012       FEDEX TECH CONNECT INC                    Disb of 0.11% to Claim #DALBEY003          7100-000                                            93.87               902.50
                                  as Assignee of FedEx
                                  Express/Ground/Freight
                                  3965 Airways Blvd, Module G, 3rd Floor
                                  Memphis , TENNESSEE 38116

04/16/2019            30013       RLJLodging II TEIT Sub Inc.               Disb of 0.11% to Claim #DALBEY221          7100-000                                            42.21               860.29
                                  DBA RENAISSANCE Suites
                                  500 Flatiron Blvd
                                  Broomfield , CO 80021-8228

04/16/2019            30014       AOR DIRECT LLC                            Disb of 0.11% to Claim #DALBEY238          7100-000                                           158.76               701.53
                                  c/o Lori L. Winkelman
                                  Quarles & Brady LLP
                                  2 North Central Avenue
                                  Phoenix , AZ 85004

04/16/2019            30015       BULLSEYE TELECOM INC.                     Disb of 0.11% to Claim #DALBEY239          7100-000                                             8.17               693.36
                                  25925 Telegraph Rd Ste 210
                                  Southfield , MI 48033-2527

04/16/2019            30016       XCEL ENERGY SOUTH                         Disb of 0.11% to Claim #DALBEY240          7100-000                                            23.69               669.67
                                  by American InfoSource LP as agent
                                  PO Box 268872
                                  Oklahoma City , OK 73126-8872

                                                                                                                   Page Subtotals                   0.00                  326.70




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                                                                                          FORM 2                                                                                            Page 31
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                       Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                  Account Number/CD#: ******8980 Checking Account
       Taxpayer ID No: **-***9612                                                                                        Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                        Separate bond (if applicable): 0.00

    1                   2                            3                                           4                                          5                     6                     7
                                                                                                                     Uniform
Transaction          Check or                                                                                         Trans.                                                        Account/ CD
   Date              [Refer#]             Paid To / Received From                   Description of Transaction        Code             Deposits($)        Disbursements($)           Balance($)
04/16/2019            30017       AMERICAN EXPRESS TRAVEL RELATED SER Disb of 0.11% to Claim #DALBEY241              7100-000                                           285.26               384.41
                                  Services Co, Inc
                                  c/o Becket and Lee LLP
                                  PO Box 3001
                                  Malvern , PA 19355-0701

04/16/2019            30018       DAVID BUTLER                            Disb of 0.11% to Claim #DALBEY242          7100-000                                           147.95               236.46
                                  10723 Lowell Dr
                                  Westminster , CO 80031-1923

04/16/2019            30019       AMERICAN EXPRESS TRAVEL RELATED SER Disb of 0.11% to Claim #DALBEY243              7100-000                                           216.63                19.83
                                  Services Company, Inc.
                                  c/o Becket and Lee LLP
                                  PO Box 3001
                                  Malvern , PA 19355-0701

04/16/2019            30020       AMERICAN EXPRESS TRAVEL RELATED SER Disb of 0.11% to Claim #DALBEY244              7100-000                                             5.77                14.06
                                  Services Company, Inc.
                                  c/o Becket and Lee LLP
                                  PO Box 3001
                                  Malvern , PA 19355-0701

04/16/2019            30021       DE LAGE LANDEN FINANCIAL SERVICES,      Disb of 0.11% to Claim #DALBEY245          7100-000                                            14.06                 0.00
                                  att: T. Veitz
                                  1111 Old Eagle School Road
                                  Wayne , PA 19087

                                                                                                                 Page Subtotals                   0.00                  669.67




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                                                                                               FORM 2                                                                                             Page 32
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 11-32445                                                                                                             Trustee Name: Dennis W. King
              Case Name: DALBEY EDUCATION INSTITUTE, LLC                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                        Account Number/CD#: ******8980 Checking Account
       Taxpayer ID No: **-***9612                                                                                              Blanket bond (per case limit): 49,037,481.00
     For Period Ending: 7/12/2019                                                                                              Separate bond (if applicable): 0.00

    1                    2                            3                                           4                                               5                      6                    7
                                                                                                                            Uniform
Transaction          Check or                                                                                                Trans.                                                       Account/ CD
   Date              [Refer#]               Paid To / Received From                   Description of Transaction             Code            Deposits($)        Disbursements($)           Balance($)

                                                                                                                       Page Subtotals


                                                                                                COLUMN TOTALS                                    423,206.42             423,206.42
                                                                                                         Less:Bank Transfer/CD's                 423,206.42                     0.00
                                                                                                SUBTOTALS                                               0.00            423,206.42

                                                                                                       Less: Payments to Debtors                                                0.00
                                                                                                Net                                                     0.00            423,206.42


                                                                                         TOTAL-ALL ACCOUNTS                                       NET                     NET              ACCOUNT
                    All Accounts Gross Receipts:          1,481,031.93                                                                          DEPOSITS             DISBURSEMENTS         BALANCE

              All Accounts Gross Disbursements:           1,481,031.93
                                                                                         ******2067 Checking Account                           1,364,813.29            1,035,064.88
                                All Accounts Net:                0.00
                                                                                         ******4259 Money Market Account                          93,796.93                   338.92

                                                                                         ******8980 Checking Account                                    0.00            423,206.42

                                                                                         Net Totals                                            1,458,610.22            1,458,610.22                0.00




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